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           EXHIBIT 6
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                                                                                                                      EXHIBIT NO.            2.
Deutsche Bank                                                                                                         u· ,~
Markets Research

Rating                                                 Company
                                                                                                                                   ·tq
                                                                                                                      P. Frederickson, CSR, CCR


                                                                                                                              Date
                                                                                                                                                                             [ZJ
                                                                                                                              13 November 2012
Hold                                                   SandRidge Energy
                                                                                                                              Company Update
North America
United States
                                                                                                                              Price at 12 Nov 2012 (USD)                                   5.38
Industrials
                                                                                                                              Price Target                                                 5.00
Oil & Gas Exploration &                               Reuters                 Bloomberg         Exchange Ticke r              52-week range                                       8.82 - 5.51
Production                                            SD .N                   SD US             NYS         SD


Doubling Down in the Miss                                                                                                     Rya n Todd
                                                                                                                              Research Analyst
                                                                                                                              (+1) 212 250-8342
                                                                                                                              ryan.todd@db .com
Missing Barrels: Deteriorating Miss outlook takes a bite out of valuation
Friday's conference call confirmed concerns about deteriorating oil                                                           Step hen Ri chardso n
performance in the Mississippian, where a material reduction to the type curve                                                Research Analyst
drastically reduces equity value and exacerbates concerns regarding the timing                                                (+1) 212 250-8356
and rationale of the proposed Permian disposition. Despite returns that are still                                             stephen .richardson@db.com
relatively robust in the Miss, we remain unconvinced that the asset will be
sufficient to dig out from under the current debt burden. We have reduced our
                                                                                                                              M imi Ko ng
NAV and target price from $9 to $5 and maintain our Hold rating.
                                                                                                                              Research Associate
Structural headwinds increasing as oil barrels go Missing                                                                     (+1) 212 250-9331
Weaker than expected oil production out of Mississippian wells (gassier wells,                                                mimi.kong@db.com
faster than expected oil decline) have reduced Miss. type curves by 8% (from
456 Mboe to 420 Mboe) and per well oil reserves by 25% (204 Mbbls to 155
Mbbls), offset partially by successful downspacing to 4 wells per section. The                                                Key changes
concern is less about the absolute value of the play, where returns are still                                                 Price Target               9.00 to 5.00        !           -44.4%
attractive, but in the trends, where the 2nd reduction to date in the oil content
and flat 04 oil production guidance raise concerns of further deterioration                                                   Price/pri ce relat ive
(particularly in the extension) and worrisome capital efficiency. The move also
highlights the dangers of leverage, as a -20% change to EV resulted in a
nearly 50% reduction to equity value.
Headwinds remain, with or without a Permian sale
Despite the attention garnered by the proposed Permian sale, the reality is that
given the step down in the Miss, the portfolio is fighting an uphill battle with or
without the Permian. We estimate that assuming a sale price of $2.0-$2.5 Bn,                                                        11/09    5/10      11/10   5/11      11/11     5/12

the deal would have a generally dilutive impact on metrics (2014 Debt to                                                               - - Sand Ridge Energy

EBITDA from 5.0x to 5.3x, EV/EBITDA from 6.4x to 9.9x), our estimated                                                                  - - S&P 500 INDEX IRebased)

funding gap from 2013-2015 changes modestly, from $4 Bn to $4.2 Bn. The                                                       Performance (%)                         1m         3m        12m
underlying problem is sheer size of the funding gap at the core Mississippian                                                 Absolute                           -25.6       -21 .1       -25 .9
asset (-$850m on 2013 estimates) and the insufficiently quick pace at which                                                               -            ---
                                                                                                                              S&P 500 INDEX                           -3.4       -1 .8      9 .2
that gap is closing, given -$3.6 Bn in current net debt. At the end of the day,
the biggest casualty of a Permian sale may be investors' confidence in
management, with its second significant strategic change in less than a year.
Valuation and Risks
Our $5 PT is based on our Net Asset Value (NAV) at $90/$4.50 and a 10%
discount rate . Upside risks include a Miss JV and better than expected Miss
extension results, while downside risks include capex overruns and further
Miss type curve downgrades.

 Forecast s And Rat ios

~ arEndDe0_1 _ ~ - - - - - - -                                                         2011A           2012E        2013E
FY EPS (USDl                                                                            -0.00            0.21        -0 .02
Revenue {USD)                                                                         1,415.2         1,963 .1     2,283 .0
Source: Deutsche Bank estimates, company data

' Includes the impa ct of FAS123R requiring the expensing of stock options.




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All prices are those current at the end of the previous trading session unless otherwise indicated . Prices are sourced
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Investors should consider this report as only a single factor in making their investment decision. DISCLOSURES AND
ANALYST CERTIFICATIONS ARE LOCATED IN APPENDIX 1. MICA(P) 072/04/2012.
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13 November 2012
Oil & Gas Exploration & Production
SandRidge Energy                                                                                              [ZJ
Permian: To sell or not to sell?
The challenges remain the same

Despite much of the attention on the recent conference call on the proposed sale of the
Permian asset, we find that the sale (or lack thereof), is unlikely to have a significant
impact on the overall picture over the coming years. Although we estimate that the deal
will likely be dilutive on most metrics, the near-term impact of paying down -$1.1 Bn of
debt and increasing cash on the balance sheet may prove attractive to some investors .

The reality, however, is that either way, the slow task of closing the spending gap and
deleveraging just got harder with the reduction in oil volumes in the Mississippian.
Although we felt that the Mississippian was gaining momentum earlier this year, our
concern with SD has always been the size of the forward funding gap, and the rate of
cash flow growth per debt adjusted share (and adjusted for minority
interest/preferreds).

The value case has largely rested on discount to NAV, which was amongst the largest
discounts in our coverage universe, while EBITDA multiples were less compelling. In
the wake of the change to our crude production outlook, however, the discount has
essentially evaporated, with a revised NAV of $5.00/sh, and a 2013 EBITDA multiple
(adjusted for minority/preferred outflows) of 6.8x, a 50% premium to the peer group.

Below, we look at the potential impact of both the downgrade to the Miss type curve,
as well as the potential impact of a sale of the Permian on financial leverage and future
funding gaps.


Debt metrics: Moderately dilutive, but depends on the sale price

Under the Permian sale scenario, we modeled the sale to close in mid 2013 for $2.5 Bn,
which is the high end of our estimate. Meanwhile the scenario for maintaining the
Permian calls for capex to increase to $2.1 Bn in 2013 from company guidance of $1.75
Bn, funding a 12 rig program. Both scenarios incorporate a downgraded Miss type
curve and CFO adjustments for minority interest and preferred dividend payments. The
sale of the Permian will be accretive on a consolidated basis, however after adjusting
for minority interest and preferred dividends, 2014 debt metrics become dilutive at 5.3x
vs. 5.0x. Importantly, the affects of the downgraded Miss type curve results in
increasing financial leverage regardless of whether SD sells the Permian or maintains
the property, indicating the challenges inherent in growing cash flow in the
Mississippian fast enough to delever.




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13 November 2012
Oil & Gas Exploration & Production
SandRidge Energy



Figure 1: Permian Sale Scenario                                                                              Figure 2: Maintain Permian Program Scenario

                                                                         2013e                  2014e                                                                              2013e              2014e
 EBITDA                                                                       1,070              1,012        EBITDA                                                               1,324               1,560
 EBITDA (minority int/ pref adj .)                                             844                 727        EBITDA (minority int/ pref adj .)                                    1,099               1,275

 CFO                                                                            732                 590       CFO                                                                     983              1,134
 Minority                                                                      (170)               (230)      Minority                                                               (170)              (230)
 Pref Div                                                                        (56)                (56)     Pref Div                                                                 (56)               (56)
 CF available to SD                                                            507                 305        CF available to SD                                                     757                 849
 Capex                                                                    (1,750)               (1,818)       Capex                                                                (2 ,100)           (2,280)
 Funding Gap                                                              (1,243)               (1,514)       Funding Gap                                                          (1,343)            (1,430)
 BOP Net Debt                                                             (3,627)               (2,370)       BOP Net Debt                                                         (3,627)            (4,970)
 Permian Sale Proceeds                                                     2,500                     0        Permian Sale Proceeds                                                     0                  0
 EOP Net Debt incl. funding gap                                           (2,370)               (3,884)       EOP Net Debt incl. funding gap                                       (4,970)            (6,400)
 Net Debt/ EBITDA                                                              2.2x                3.8x       Net Debt/ EB ITDA                                                      3 .8x               4.1x
 Net DebV EBITDA (minority int/ pref adj.)                                     2.8x                5.3x       Net Debt/ EBITDA (minority int/ pref adj .)                            4 .5x               5.0x
Source: Deutsche Bank                                                                                        Source: Deutsche Bank




Funding gap: Three year outlook remains relatively unchanged

As we turn our focus to the funding gap, the three year outlook for the funding gap
hovers around $4.1 Bn under either scenario. The reduced capex under the Permian
sale scenario is offset by the resulting lower cashflow, whereas the greater cash flow
from maintaining the Permian is offset by the increased capex spend. The pace of
Mississippian growth continues to be the heart of the issue as we do not see SD
reaching a cash flow neutral stance over the next three years .

Figure 3: Permian Sale Scenario                                                                              Figure 4: Maintain Permian Program Scenario

  $2,000                                                                                                       $2 ,500

  $1 ,800

  $1 ,600                                                                                                      $2 ,000

  $1 ,400

  $1 ,200                                                                                                      $1 ,500

  $1 ,000

    $800                                                                                                       $1 ,000

    $600

    $400                                                                                                         $500
                                                                               -        capex                                                                                         -       capex
    $200                                                                       -        CF available to SD                                                                            -       CF available to SD

      $0                                                                                                           $0 + - - - - - - - - - , - - - - - - - - - . - - - - - - - - ,
       2013e                           2014e                          2015e                          2016e          2013e              2014e               2015e               2016e

Note: CF is adjusted for m inority interest and preferred dividends                                          Note: CF is adjusted for minority interest and p referred dividends
Source: Deutsche Bank                                                                                        Source: Deutsche Bank




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.j:::,.   NET ASSET VALUATION              Risked           Value     $/Boe      $/Share         $/Acre       Value   $/Share                                                                                                                                      ::XJ          0
                                                                                                                                                                                                                                                                        G') <
          Proved Develoeed Reserves !PV10!                                                                                                                                                                                                                          0.: Cl) co
            United States                     183          $2,711     $14.79       $4.78          NA         $2,458           $4.34
                                                                                                                                                                                                                                                                   co (J) 3
                                                                                                                                                                                                                                                                    co m O"
            DOR-Proven Reserves                62          $1,838     $29.64       $3.24          NA         $1,604           $2.83                                                                                                                                m ><
          Total                              245           $4,549     $18.55       $8.03          NA         $4,062           $7.17                                                                                                                                ::J    -g__ ~
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                                                                                                                                                                                                                                                                   co ~          0
          North America                                                                                                                                                                                                                                            -<            I'-)
           Mississippian                         1,160     $2,715      $2.34       $4.79         $1,697      $1,755           $3.10         Mississipp    1,600,000       40%     640,000       160       3746            $3.5        270     417,367     36.5%           6"
                                                                                                                                                                                                                                                                          ::J
           Permian                                  31        140       4.50        0.25            620          89            0.16         Permian         225,000       70%     157,500        20       4667            $0.6         53      58,031     68.0%
           WTO                                                                                                                              WTO             501 ,100      70%     350,770        40       8024             2.9      2,900       2,705       -- %          Qc>
           Total                                 1,191     $2,855      $2.40       $5.04         $1,159      $1,844           $3.25         Total         2,326,100       49%   1,148,270        73      16437            $2.3       1074     159,368     37.3%           ""'O
                                                                                                                                                                                                                                                                          0
                                                                                                                                                                                                                                                                          0..
                                                                                                                                                                                                                                                                          C
                                                                                                                                            Modeled Rig Program - By Play                   Current      2012            2013        2014       2015     2016
                                                                                                                                                                                                          26.0            37.0        41 .0                               ~
          Other Assets / Liabilities
           Cash                                               $673                  $1 .19                ~3
                                                                                                                 ,----_.,..._,...,,..,._-
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                                                                                                                                                                                                          12.0
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                                                                                                                                                                                                                                                                          ::J
            Book Debt, Min Interest, Pref. Stock            (5,847)                (10.32)                  (5,847)         (10.32)         WTO                                                            1.0             1.0        1.0        1.0      1.0
           Value of Midstream and Drilling Services            269                   0.48                      269             0.48         Total                                                         39.0           38.0        42.0       42.0     42.0
            PVof Carries                                       872                   1.54                      872             1.54
           Mississippian Trust I (25%)         - $19.00        156                   0.28                      156             0.28       Modeled Well Program - By Play                                 2012            2013        2014       2015     2016
            Permian Trust (25%)                  $19.40        310                   0.55                      310             0.55       Mississippian                                                   337             570         644        651      651
           Mississi ian Trust II 40%             $19.40-       385                   0.68                      385             0.68       Permian                                                         762
          Total                                            ($3,182)                ($5.62)                 ($3,182)         ($5.62)       WTO
                                                                                                                                          Other
          Net Equity Value                      1,436      $4,222
                                                                               I   1,.1111   I               $2,724      ~              J Total                                                          1,098            570         644        651      651
          Shares Outstanding (MM)                                                  566.6                                      566.6




                                                                                                                                            ASSUMPTIONS
                                                                                                                                            Prices            DB                  NYMEX Stri~                    Other           Choosen Deck
                                                                                                                                                        Oil             Gas       Oil     Gas             Oil            Gas
                                                                                                                                            2011      $95.14           $408                                                       L.@
                                                                                                                                            2012      $97.10           $2.71    $95.30        $2 .86     $95.00          $4.00
                                                                                                                                            2013      $104.75          $3.75    $94.31        $4.03      $95.00          $4.00
                                                                                                                                            2014      $100.00          $4.25    $92.04        $4.30      $95.00          $4.00
                                                                                                                                            Long-term $100.00          $4.75    $89.80        $4.50      $95.00          $4.00

                                                                                                                                            Inflation Outlook                                          Discount Rate                                      10.0%
                                                                                                                                            Production Costs             0.0%                          Depreciation Rate                                  80.0%
                                                                                                                                            Service/Drilling Costs       0.0%
                                                                                                                                            Commodity Price              0.0%                          Shares Outstanding (MM)                           566.6


          Source: Deutsche Bank, Company Data




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SandRidge Energy                                                                                                                                        IZ]
Appendix 1

Important Disclosures
Additional information available upon request

Disclosure checklist
Company                                                      Ticker                         Recent price *                                 Disclosure
SandRidge Energy                                             SD.N                           5.39 (USO) 12 Nov 12                           1,7
*Prices are sourced from local exchanges via Reuters, Bloomberg and other vend o rs . Data is so urced from Deutsche Ban k and subject compan ies



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SandRidge Energy



Historical recommendations and target price: SandRidge Energy (SD.N)
(as of 11/12/2012)

             14.00                                                                                                              Previous Recommendations

                                                                                                                                     Strong Buy
             12.00                                                                                                                   Buy
                                                                                                                                     Market Perform
                                                                                                                                     Underperform
             10.00
                                                                                                                                     Not Rated
     Q)
                                                                                                                                     Suspended Rating
     (J

 ;t           8.00
                                                                                                                                Current Recommendations
 ~
 ·c:                                                                                                                                 Buy
     ::::,
     (J       6.00
     Q)                                                                                                                              Hold
 CJ)
                                                                                                                                     Sell
             4.00                                                                                                                    Not Rated
                                                                                                                                     Suspended Rating
                                                                                                                            *New Recommendation Structure
              2.00                                                                                                            as of September 9,2002


              0.00
                                                   11 10   2 11             811   1111         2 12     512      812
                  11 09     2 10   510     810
                                                                     oJt1
1.           11/17/2009:       Downgrade to Hold, Target Price Change USD13.00    6.   02/08/2012 :           Hold, Target Price Change USD9.00
2.           12/01/2009:       Hold, Target Price Change USD12 .00                7.   04/02/2012:            Hold, Target Price Change USD11 .00
3.           07/11/2011:       No Recommendation, Target Price Change USD0.00     8.   07/16/2012:            Hold, Target Price Change USD10.00
4.           12/09/2011 :      Upgrade to Hold, Target Price Change USD9.00       9.     10/15/2012 :         Hold, Target Price Change USD9.00
5.           01/09/2012:       Hold, Target Price Change USD11.00



Equity rating key                                                                 Equity rating dispersion and banking relationships

Buy: Based on a current 12- month view of total                                          450 -r-~itit-et:~~~~.....,
share-holder return (TSR = percentage change in                                          400
share price from current price to projected target price                                 350
plus pro-jected dividend yield ) , we recommend that                                     300
                                                                                         250
investors buy the stock.                                                                 200
Sell: Based on a current 12-month view of total share-                                   150
holder return, we recommend that investors sell the                                      100
                                                                                          50                                                      2%38%
stock                                                                                      0
Hold: We take a neutral view on the stock 12-months                                                      Buy                  Hold                  Sell
out and, based on this time horizon, do not
recommend either a Buy or Sell.
                                                                                                      •Companies Covered     •cos. w/ Banking Relationship
Notes:
                                                                                                                   North American Universe
1. Newly issued research recommendations and
target prices always supersede previously published
research.
2. Ratings definitions prior to 27 January, 2007 were:
                 Buy: Expected total return (including dividends)
                 of 10% or more over a 12-month period
                 Hold:    Expected     total   return   (including
                 dividends) between -10% and 10% over a 12-
                 month period
                 Sell: Expected total return (including dividends)
                 of -10% or worse over a 12-month eriod




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SandRidge Energy                                                                                               IZ]
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                                                       United States of America                               Tel : (312) 537-3758                                    Tel : (215) 854 1546
                                                       Tel : (1) 617 217 6100
Deutsche Bank Securit ies Inc.                         Deutsc he Bank Securit ies Inc.
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San Francisco, CA 94111                                Tel: (832) 239-4600
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United States of America                               United Kingdom                                         Germany                                                 Corner of Hunter & Phillip Streets
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                                                                                                                     EXHIBIT NO.         3 --------------      NOVEMBER 9, 2012

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                                                                                                                                I

                                                                                                                     P. Frederickson, CSR, CCR


    CHANGING ESTIMATES




                                                                             SandRidge Energy, Inc.: Good
   SandRidge Energy, Inc.                                                                                                                 Duane Grubert
   Symbol                                                               SD
                                                                             30, Fresh Bold Tactics and                                   duane .g rubert@sig.com
                                                                                                                                          203 326 5029
   Rating
   Price
                                                                Positive
                                                                   $6.10
                                                                             We Ponder Activist Agendas                                   George Wang
                                                                                                                                          george .wang@sig .com
   Price target                                                  $12.00      Call to action                                               212 510 4454
   Downside risk                                                   $5.50
                                                                             SD's 30 beat, with big new Permian sale tactic and
                                                                             less 2013 spending are positives likely to overwhelm
   Company market data
                                                                             picking on related lower 2013 production (less
   52 week range                                           $9.04-$5.55
                                                                             Permian) and slightly increased gas vs oil . Feeding
   Shares out.                                             491.077mm
                                                                             activist themes, we take a look at SD bylaws and a
   Market cap.                                                2,996mm
   Average daily trading volume                             10,617,115
                                                                             DVN merger scenario.
   Beta                                                              1.96

                                                                             HIGHLIGHTS
   Calendar year December                                                    SPEED READ: Selling Permian ($2B?), 2013 capex cut to $1.75 B, fine 30 beat, 18% guided
                                  2012e                        2013e
                                                                             growth, with activist now engaged, and we look at sale of the company to Devon Energy.
   EPS                   Prior    Current          Prior      Current
   Q1                             0.04A            0.06          0.03
   Q2                             O.Q?A            0.05          0.03        • Like getting a subpeona on your birthday, TPG-Axon's activist gauntlet was drawn hours
   Q3                    0.02     0.05A            0.09          O.Q3          ahead of SD announcing good capital control, mostly improved guidance, and a possible
   Q4                    0.03         0.04         0.08          0.03          material sa le of mature Permian assets into a pretty hot market, especially compared to the
   CYEPS                 0.16         0.20         0.29          0.13          weak SD share price.
   P/ E                            30.Sx                        46.9x
   EB1TDA($)             983       1,072           1,286        1,317
                                                                             • Bears will see Permian oil slowdown masking gassier Mississippian production, and 40
                                                                               cost creep ahead of much lower 2013 spending complicating comps. Bul ls will like the
   Credit
                                                                               Permian sale, the lower 2013 spending, and downspacing in the Mississippian (so 25%
   Gross leverage                                               40.00°/o
                                                                               more locations).
   Net debt/ EBITDA (12m fwd )                                       3.2x
   Free cash flow (12m fwd)                                  $(643)mm
   Free cash flow yld (12m fwd )                               (15.00)%
                                                                             • With activism on our minds, we discovered SD's bylaws can be changed by a 50%
   Implied 3-to-7 year YTM                                        7.00%        shareholder vote, and also looked at our prior idea of Devon buying SD at $10 per share,
   5-yr US treasury yield                                         0.65%        an accretive deal in our view, and highlighting the appeal of cheap SD shares.


   Derivatives
                                                                             Catalysts
   Volume (contracts)                                            14,346
                                                                             Peer announcements of Mississippian progress or partnerings may be positives for SD .
   Skew rank (2yr %-tile)                                            3.18
                                                                             Permian sale is also a catalyst .

    -     Sh are price            -       Implied, Rea lized vol ati lity
    13                                                               126     Downside risk
    12                                                               114
                                                                             Commodity price movements usually comprise the largest risk/reward component to E&P
    11                                                               102
    10                                                                90     stocks. Our downside risk of $5.50, which is a $1 .50 discount to the midpoint value of NAV/
    9                                                                   n
                                                                        66   share and proved reserves only value/share at $65 oil and $2.60 gas. SD-Specific Risk:
                                                                             Logistics challenges could emerge for both water disposal and field personnel availability,
    6
    5                                                                        given the likely thousands of employees that will be required to develop, process and
                            :::                                              transport Mississippian oil, gas and mostly water in the years to come. Injection permitting
                                      >
                                      0
                                      z
                                                                             challenges seem minimal so far; however, they could be a stumb ling point as sector activity
                                                                             ramps up.



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    SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                       2




                       Meanwhile, with its solid quarter with record production, SD announces possible sale of
                       its Permian assets. The 24.5 mbde there might fetch $2 billion or more, into a hot MLP
                       market, a rational arb vs. weak SD pricing, and in CEO Tom Ward's wheelhouse as SD's
                       chief dealmaker.

                       The quarter:
                       $0.05 vs. $0.00: SD reported adjusted EPS/EBITDA of $0.05/$297 mln, higher than our
                       estimate of $0.02/$310 mln, vs. consensus at $0.00/$277 mln. Beat from higher
                       production and lower unit cost. 103 mbde beat our estimate by 5% due to gas production
                       coming in 11 % higher than our estimate. Gas price realization was slightly lower. Oil
                       production and oil price realization were in line.

                       Guidance: 2012 total production is guided higher by 1% with more gas but slightly
                       lower oil volume. 2012 capex is up $50 mln, with $20 mln for drilling and the rest in oil
                       field services and midstream.

                       2013 capex is much lower at $1.75 bln, vs. $2.15 in 2012. In 2013, total production has
                       been guided to 39.2 mmboe, implying 18% growth Yo Y. Percentage gas production is
                       expected at 50% vs. 47% in 2012, reflecting much less drilling capital for Permian Basin
                       oil, which is being harvested ahead of a possible sale.

                       Balance sheet: Net debt increased by $500 mln as a result of the August senior notes
                       offering and funding the company's drilling program. On November 5, the company had
                       no amount drawn under its $775 million senior credit facility and approximately $535
                       million of cash, leaving approximately $1.3 billion of available liquidity.

                       Guiding to $1.75 billion vs. an expected $2 billion of capital spend in 2013 reflects much
                       less spending in the Permian, with a modest related increase in gas as a portion of total
                       production. This partly masks the increasing gas vs. earlier expectations out of the
                       Mississippian.

                       Selling Permian would leave SD to grow in the Mississippian and harvest the Gulf of
                       Mexico. The former remains a focus, and management also has eyes on courting an
                       additional joint venture partner for accelerated development. The Permian sale would
                       improve SD' s negotiating strength and might even offset the desire for a joint venture
With today's           partner.
surprise activist
letter, on the
                       Active trading on activism
same day as the
3Q earnings
                       There was visible positive early reaction to activism (SD up vs. group on huge volume
release, we            after receiving letter Thursday from TPG-Axon) which seeks plausible Board reshuffle,
heard plenty of        but market so far sees no near-term silver bullet from activism.
investors and SD
watchers react
positively to the
                       TPG-Axon says management strategy has amplified uncertainty, reckless spending
idea of a              caused massive dilution and risk, and governance has been appalling. But they like the
management             rock, and see SD woefully underpriced, as do we. See our note on that too: Click for Note
change




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   SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                              3




                      If activism rules, the question becomes ... then what? We can't easily put together a short
SD is focused on
Mississippian oil     list of quick-acting, shovel-ready buyers, and think SD's CEO has some unfinished
well drilling, and    business (e.g., getting a third joint venture partner) investors would rather get done first
is now looking        unless a sale is envisioned.
into the sale of
its Permian
assets. Those         TPG-Axon's letter hurts SD's credibility with prospective counterparties, particularly out
could bring in $2     ahead of courting one more joint venture, which TPG may be trying to stop, although in
billion or more,      their missive on past misdeeds ... CEO negotiation of handsome foreign partnerings didn't
perhaps from an
MLP buyer, and
                      come up.
with increased
single-basin          Continuing the activism plot line, we made a scoping assessment of Devon taking over
focus, arguably       SandRidge at $10 per share (a discount to our target, and in our view, meaningfully
makes SD more
saleable
                      accretive to DVN without taking on too much risk, given $7 of support from reserves
                      value alone), discussed later in this note.

                      TPG-Axon's activist alert to SD Thursday led an active day, trading almost 40 million
                      shares (over triple normal), and waking up special situations desks across the land. TPG-
                      Axon calls SD's Board of Directors "lightweight" and suggests Board changes as well as
                      in the CEO role.

                      Given SD's bylaws, indeed, a 50% vote of shareholders (with no special meeting or
                      annual meeting needed) could rewrite the bylaws and potentially force a turnover of the
                      entire board.

                      Meanwhile, SD's CEO owns 5% of shares and has likely other alignment of existing
                      management (say 3%) and others.

                      Other considerations
                      •   SD Board is staggered
                              o Two directors elected in the last annual meeting (6/1/12) to serve three-year terms
                              o Three up for re-election in 2013
                              o Two up for re-election in 2014
                      •   Annual meeting to be held within 13 months from the last annual meeting
                              o Last annual meeting was 6/1/12, so next meeting needs to be before 7/1/13
                              o Window for shareholders to nominate directors for 2013 annual meeting: 2/1/13 to 3/3/13
                      •   Special meeting callable by 50% shares outstanding (quite a high hurdle)
                      • No sign of a poison pill (although company can quickly adopt one)

                      Certificate of Incorporation
                      •   http://www.sec.gov/Archives/edgar/data/1349436/000095012908000395/h52806exv3wl .htm
                      •   http://www.sec.gov/Archives/edgar/data/1349436/000119312510182402/dex32.htm

                      Bylaws
                      •   http://www.sec.gov/Archives/edgar/data/ 1349436/0000950 l 3409004802/d66742exv3w l .htm

                      Of note, 18% of shares are held by Management plus The Carlyle Group (owners via
                      prior Dynamic Offshore Resources, perhaps loyal to current management, perhaps not).




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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                                                                            4




                   SD's Mississippian franchise situation in a nutshell
                   We think there's a lot more oil on Mississippian acreage than the market rewards, SD
                   dominates there, and DVN is waking up to it as a plausible focus area. DVN is already
                   experimenting with drilling two different zones (shallow Miss and deep Woodford) on
                   the same type of acreage SD is just drilling shallow on. Meanwhile, SD is drilling four
                   wells per square mile now instead of three.

                   The combination of downspacing and additional zones is a plus for the acreage value vs.
                   what investors have been taught, a driver of future incremental value.

                   SD uses its square miles (2,700 of them) as currency to get money in to fund earlier
                   drilling. DVN needs its square miles to keep its gigantic scale going and growing.
                   We've also published the "Reese's peanut butter cup concept" of D VN eventually buying
                   SD, and scope out a valuation scenario showing an accretive acquisition of SD at $10 per
                   share.

                   Thursday's activist letter from TPG-Axon suggests a risk premium related to
                   management credibility should be closed by changing the Board composition. Our own
                   work has SD standing out with compelling value, pricing in less than the value of proved
                   reserves assessed in a low commodity price environment.
                   SD, FAR LEFT, IS INDEED EXTREMELY CHEAP VS . THE GROUP, IN OUR VIEW, PRICING IN LESS THAN VALUE OF PROVED
                   RESERVES


                    8U80UEHANNA
                               SIG                                        Share Price vs. Valuation Case
                                                                                                                                                           Dua ne.Grubert@SIG .com


                                                                         Sorted vs. upside to SFG Target Value
                                  Oil
                                Lpside:
                                                                                                  4 value scenarios per name rs-M-L-XL) ·
                                                                                                  S = proved reserves only
                                                                                                  M = weak execution
                                200%
                                                                                                  L = good execution
                                                                                                  XL = with oil price upside
                                                                                                  SFG target, in bold italics
                                                                                                  Green dot is consensus target             Where consensus targets are
                                                                                                                                            well above our XL scenario

                                150%




                              O.ment
                                Stock
                                Price




                                 50%




                                            SD        FST    MMR   EGN    PXP   DNR   DVN   BRY   WLL     MRO      EXXI     OXY   QEP       XEC   Cl-I<   PXD     WPX       EOG



                       share prk:eand rating(+,=,-)
                       Share Price as of November 08, 2012




                   Source: SFG Research




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   SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                             5




                      SD is our favorite oil growth name, as markets undervalue SandRidge's Mississippian
                      franchise prominence, and players like Devon start competing nearby. Management
                      credibility is still oft questioned, Topic A of a new activist letter from TPG-Axon. We
                      count on the rock delivering consistent results, and the value gap closing through good
                      execution, plausibly including some influence of activism.


                      Let's look at SD merging with DVN
                      Hypothetical Scenario: We scope out the scenario of DVN buying SD for $10 per share
                      and taking on SD's debt. Devon would get a bit oilier, a bit less developed, with a 15%
                      bump in production, and still have a strong balance sheet.

                      SD has a dominant franchise in the Mississippian, ramping up to a right-sized $2 billion
DVN's                 run rate. DVN is newer to the play, but already experimenting with additional zones to
Mississippian
position would        complete, and adding drilling rig activity this quarter. We think SD could become a right-
increase to 2.245     sized franchise builder for Devon, not least due to Oklahoma City culture and cost
mln acres, larger     synergies.
than CHK's 2
million acres,
and makeDVN           We target SD based on robust activity levels. DVN would unlikely increase the pace of
the biggest           activity on the same acreage ... that's part of SD' s differentiation: that it is already active
player in the
Mississippian         at a pace that a larger company would pursue.

                      Thus, we don't see DVN or another suitor able to easily justify a premium to our target
                      based on more rapid development; however, they would be doing themselves a favor by
                      buying at a discount to our target, in our view. Devon's post-Barnett Shale portfolio
                      could use a material franchise focus. With say $30 billion of plausible forward
                      investment on the SD acreage, SD could be a good bolt-on for Devon, not to mention
In terms of           possible cost-sharing synergies including being collocated in Oklahoma City.
production
impact, back-of-
                      Our target for SD is $12. If we look at DVN buying SD for $10, in our eyes they would
the-envelope
scoping suggests      be doing an accretive acquisition. If we look at the combined company from a bottoms-
650 wells per         up reserves-based approach, our $74 target for DVN might increase to $82. Deal
year developing
                      structure could be envisioned to support our target via EBITDA multiples as well.
260 million boe
per year, using a
12-year               The nearby exhibit shows a quick look at a combined Devon and SandRidge. We just
reserves-to-
production ratio,
                      used debt to finance the deal, with new debt in line with cash now on the books. Post a
makes 22              deal, SD's debt could be refinanced at lower rates, drilling outlooks could make use of
mmboe per year        Mississippian project availability to increase average margins, and acreage could be
or around 9% of
                      rationalized or swapped with other players to gain infrastructure advantages.
recent
production rates,
with better than      We would expect Devon to divest the Gulf of Mexico assets in short order to reduce debt
DVN's existing
                      associated with our hypothetical deal.
average margins




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  SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                                                                               6




                     VOILA', OUR $74 TARGET FOR DVN MIGHT SWELL AROUND 10% IF SD WAS BOUGHT FOR $10 A SHARE



                                                                        Devon Energy Corp (DVN)                                                                 Duane.Grubert@ISIG.com

                                                             Scoping Value vs pf SD acquisition 3Q12 balance sheet                                                         $/share
                             60,000   r----~---------
                                                                                                                                                                                   $140
                                             $75 oll prices         $3.00 gas
                                                                                     midstream
                             50,000 - - - - - - - - - - -
                                                                                                                                                                                   $120
                       j
                       1     40,000                                                                                                              1--- - - - - --,                  $100


                       i
                       J     30,000
                                                                                                                                                                                   $80

                       Ii.
                                                                                                                                            $821mplled
                       j                                                                                                                       value
                                                                                                                                                                                   $60
                       ii    20,000
                       !                                                                  56% non-producing                                   at fair 181ue                        $40
                                                                                        (proved and unproved)
                             10,000
                                                                                                                                                  28/~                             $20
                                                                                                                                               upside to fair
                                                                                                                                                   181ue
                                                                                                                                                                                   $0
                                        Reserves      PDP,    PUD        Oil/Gas   Cash/midstream Working capital   Sewred Debt   Unsecured Debt Other Uabilities Implied Equity
                                      (proved, and                                                                                                                    Value
                                       unprovedl




                     Source : SFG Research



                     After merging with SD, DVN would be 43% oily, 71 % PDP vs. 42% oily and 74% PDP
                     before a deal. DVN' s Pl reserves would increase to 3,539 mmboe from 3,005 mmboe, an
Importantly,
taking on SD
                     18% bump. DVN's daily production increases to 777 mboe/d from 678 mboe/d, which is
would add a 15-      a 15% increase. Its balance sheet is still in good shape after the deal, with DVN's net
year                 debt/EBITDA ( leverage ratio) increasing to 1.7x from 0.6x, still below the peer group
development of
the
                     average of 1.9x, and then likely delevered via some partial divestitures out of the SD
Mississippian at     portfolio.
a pace SD
personnel are
already
                     Assuming a deal structure involving $2 bln of cash, 20 mln of DVN shares and $5 bln of
designing for        debt to finance the acquisition, DVN's 2013 EBITDA multiple should improve from 4.5
and almost           now to 4.8x.
ramped up to




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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                     7




                   EBITDA COMPS




                    Oil Names                                                                                          %Oil
                    Berry Petroleum            BRY       $32.70    1,713     3,433      598      679   5.7x    5.1x     68
                    Denbury Resources Inc      DNR       $14.80    5,790     8,736    1,562    1,588   5.6x    5.5x     77
                    Energy XX I                EXXI      $32.45    2,573     3,721      863      961   4.3x    3.9x     66
                    Energen Corp               EGN       $43.52    3,140     4,734      906    1,057   5.2x    4.5x     56
                    fvlarathon Oil Corp        MRO       $29.97   21 ,142   26,047    8,562    9,231   3.0x    2.8x     75
                    Occidental Petroleum       OXY       $76.72   62,149    66,036   14,220   15,163   4.6x    4.4x     72
                    Roneer Natural Resources   PXD      $102.80   12,669    15,835    2,011    2,461   7.9x    6.4x     60
                    Rains Exploration          PXP      $34.35     4,431     8,658    1,655    3,101   5.2x    2.8x     59
                               Eiler Y.        SD           .14    3015      7953     1115     1425    7.1x    5.6x     52
                    Whiting Petroleum          WLL      $43.64     5,135     6,773    1,455    1,672   4.7x    4.0x     86
                    MEDIAN                                                                             5.2x    4.4x    67%

                    Gas Names                                                                                          %Gas
                    Chesapeake Energy          CHK      $17.25    11,478    29,086    3,548   4,726    8.2x    6.2x     83
                    Devon Ener                 DVN      $   .1                373     5170    6017     4.9x    4.5x     58
                   EOG Resources               EOG      $116.18   31 ,470   36,436    6,058   6,759    6.0x    5.4x     64
                   Forest Oil                  FST        $6.72       795    2,784      498     495    5.6x    5.6x     76
                   tvt:tlloRan Exploration     M\.t=l    $12.57    2,035     3,111      158     160    19.7x   19.4x    59
                   QEP Resources               QEP       $28.73    5,117     8,180    1,401   1,635    5.8x    5.0x     76
                   WF'X Energy                 WF'X      $15.13    3,014     4,213    1,035   1,069    4.1x    3.9x     77
                   Cimarex Energy Co           XEC       $59.28    5,130     5,976    1,117   1,362    5.4x    4.4x     59
                    MEDIAN                                                                             5.6x    5.0x    70%

                   Source: FactSet




                   We target SD at $12, with $7 defended just by proved reserves value. The upside reflects
                   a medium-term development tranche of Mississippian oil, or a proxy for plausible deal
                   flow and development. TPG argues that a firm with a lower cost of capital could unlock
                   more value in developing the Mississippian. While we agree on the lower cost of capital
                   concept, the pace of development that SD targets is unlikely to be surpassed by a buyer,
                   especially one not yet maturely ramped up in the same basin (no one is).

                   While we wouldn't expect DVN to be able to outdrill SD, thus, wouldn't expect a buyer
                   to come in and say double capital spending, it IS the case that cost of capital would be
                   better. As well, quality of Mississippian investment is superior to DVN average
                   investment, so margins would improve by acquiring SD and keeping up its high pace of
                   activity.




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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                                                                                                       8




                   SD'S MARGIN SHOULD INCREASE AS IT RAMPS UP OIL GROWTH IN THE MISSISSIPPIAN




                                                                  2012 Cash Operating Margin per BOE .s 2011 % Oil/Total Reser.es
                                                  (better profit margin has forced oil and gas producers to rein-.ent towards increased liquids focus)



                                                                                               I                       I

                             $52            ----- ---- ------------- ------------- -   -------~
                                                                                              I
                                                                                                -------------------· :I __
                             $48                                                               :                      :
                                           ---------------------------------------------- ··r-------------·----·· 1··------          _ _ _ _ _ ..___.. -            -
                                                                                               I                       I                                                                 WLL
                             $44            --- ----------------------------------------       ;      -- -            :         .. ---- -+--pxi:,---- - -        +---
                          w $40        -   -------------------- GASSY -- - -· ---            --f SH_____       --·   st        ---- + SD.
                         ~   $36                 ----------- - - -            QE-P TL~        +•                     -;-- -~---------~
                         ~   $32           --- - ----- - -         - --       +         -~ Elli    + ------ --· {£GN                         +       ------------------------ --- ---
                         c                                                                              G ++ DVf'!    +                     PXD
                         -~ $28            ---- - ·-------     -          -                    :   ---·---~~ct4Pc  - ROSE                        -- ------------------------ --------- ------ ---------------
                          ; $24                                                     --------- ;-- - ------           - r ----- - ------------------"Highest margms(stiaded)
                         '§ $20                                                     --- --- --:------------ -- : ----·                                --- --include: -California; GOM, ----·
                          ~ $16                                               -                :_ __ -- --      - - :                   OILY               _core.. Bakken,Eagle Eor.d,. -··
                                                                                                                                                            -·
                             $
                                 12
                                                    . _______ .. ___ --~ WPX __             _ _:___ _______           j_                           _ _-·-· ~ _i_!~i~_sipp~an -~~ -~~_e--~~y_ . _
                                       __ .. ·--·- ___ lowest_of the _group'___                         __                 ~            __ ___ ____ __ _________ _ _ ___ _           __ _ ___ _
                                 $8
                                 $4
                                 $0 - r - - - - - - - , - - - - - - , - - - - - . . . . - - - - - - , r - - - - - - - , - - - - - - , - - - -
                                      0%                     15%                    30%                      45%                            60%                    75%                    90%
                                                                                                   % oil of total reser.es




                   Source : SFG Research



                   We have repeatedly noted Devon as a plausible eventual consolidator of SandRidge, with
                   its own growth imperative and recently increased commitment to this yet-uncrowded
                   play, SD' s dominance in terms of capability and infrastructure should be appealing to
                   DVN.


                   Scoping value of reserves
                   A simple way to scope out reasonableness of SD and peer assessments of commerciality
                   of the Mississippian is to take the 450 mboe mean well reserves (well documented), take
                   45% of that as oil (around 200 mboe) and then develop it for $3.2 million per well,
                   including a prorated share of disposal well capital and buying an electrical submersible
                   pump.




Susquehanna Financial Group, LLLP

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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                                                                                               9




                                     Welcome to lognormal distribution: A few huge wells, a lot of small ones,
                                      Susquehanna Financial Group, LLLP, Member FINRA                                                               Exploration and Production

                                        Type curve is at 456 mboe
                                                                                                Lognormal Reserves Distribution
                                              per well, in line with                                               BJR MBOE Mississippian
                                             Swanson's mean (the
                                     approximation of the mean of
                                         a lognormal distribution).


                                           More reasonable to talk
                                          about, SD says it targets
                                                                         P05
                                                                         P10
                                                                                                                                                    ,l   -- -
                                      wells at 300 to 500 mboe per......._~ 5   ___ _
                                       well, in line with P30 to P60    [~r..:::.::-· --+-·..            -fo-t-t-4.....       -- -
                                                                        P30      =-.:::-.: .._
                                                                                            __,-="flll..._.:H-1+               /"' '
                                                                        P40                                     ··~-;;.::
                                                                                              -+-·.. -fo-t-t-4 .....
                                                                                                                                   ~
                                                                                                                     _,......_Ar ·ilNl+-t•t+~                    - · - ..... .. 1 ........
                                      More precise, the lognormal                                                                  ~~,

                                      distribution shows a P90 to       P50
                                          P10 range of around 100
                                         mboe to 1 million boe per
                                        well. .. this huge range may
                                                                        :;~

                                                                        PSO
                                                                                · - - - · - - t - -. .   -fo-t-t-4-tt-:::
                                                                                              -fo-·.. -fo-t-t-4-tt-·-/ '
                                                                                                                             l .:.1_. .
                                                                                                                              --   -+--++4t+t----
                                                                                                                                                 1'·11-=== -=· :......
                                                                                                                                                                 -
                                                                                                                                                                               1-41•t1

                                                                                                                                                                      -t--4•1 .. -l•M
                                       scare investors when wells       P85      ---· -                               . . - ·-- -+-t-t-t-t+t---- -- • _ ... _.._._. ..,M
                                        are drilled "below the type
                                              curve" ... as should be   P90
                                                             expected                                                                +-t·-++t+t---- --· - ...                 ·-1-1 •
                                                                        P95
                                                                                                 ••
                                         You're going to get some                            ••'
                                        great wells, some average
                                                  wells, and some
                                                                              10                                 100                          1.000                              10,000
                                          clunkers ... that's nature.               Source : SD and SFG Research

                                                                                                                          Duane Grubert I (203) 326-5029 I duane.grubert@sig.com
                                             SIG
                                     SUSQ U E H A N NA
                                                                                                                               Please refer to page 15 for important disclosures and certifications .




                    Source: SD and SFG Research



                    We're then at finding costs of $16 per barrel of oil if we give no value for the gas. Giving
                    poor value for the associated gas (say $0.42 cents per mcfe, or just $2.50 per boe), we
                    end up finding oil for $16 and getting another say $600,000 of low gas value. So we
                    might think of it as free gas and oil for $13 per barrel of black oil reserves. Yes, there are
                    timing issues associated with when you drill disposal wells that aren't fully utilized, but
                    overall, industry consensus (with Mississippian operators now including Shell, Devon,
                    Chesapeake, Range, Apache, and Encana plus many smaller players) regards the
                    Mississippian as a premium economics play.

                    That fits with the published SD well economics suggesting high returns at high oil prices,
                    and breakeven around $50 per barrel of oil. Industry activity in the play has been robust,
                    with Devon moving rigs to the play recently an example of commitment to the play. Our
                    $7 per share Pl value for shares is derived from company-specific regression data and
                    our conservative price deck ($75 oil and $3 gas) estimating around $11 per boe of after-
                    tax value per boe. For comparison, last year's SEC report for SD, at a higher commodity
                    strip, was $14 per boe, and the average for the group, gassier than SD's reserves base,
                    was about $10.50 per boe.




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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                                                                            10




                   MISSISSIPPIAN WELLS HAVE STRONG ECONOM ICS FOR SD

                     Organic Growth Economics

                                                                                     Liquids Driven Returns
                                                    Permian
                           OilEUR                            53 Mbbl (85%Crude}            140%     ----- - - -- --- --- - - - -- ------ - -- -- ------ - - - - ------- - - -- - --
                           Gas EUR                           27 MMcf, dry                  UO'Yo
                          Total EUR                          58 Total Mboe                 100%

                           Gross Well Cost                   $643 Mfwell
                                                                                     I     80%

                          30 Day IP                          53 Boef d
                                                                                     ~     60%
                                                                                           40%
                           PV-10 (D)                         $647 M                        20'Yo
                          IRR(lll                            ~   62'Yo                       O'Yo
                                                             WI 91,-., NRI 70%
                                                                                                    $60/$2.50       $80/$2.50           Strip       $100/$2.50 $120/$2.50
                          2012 Drilling Program
                                                                                                                          NYMEX Pricing (Bbl/Mcf)
                          Total Locations                    ,. 7 350
                                                                                                                     -      Missis5o1>pian      -     Permian


                                                Mississippian                            Gas Price Upside
                          Oil EUR                            204 Mbbl (100% Crude)
                                                                                           100%
                          GasBJR                             1,512MMcf
                          Total EUR                          456 Total Mboe          ix:    80%
                                                                                     ~
                          Gross Well Cost                    $3.2 MMfwell C•l
                          30 Day IP                          275 Boe/d               ~      60%

                          PV-10 (DJ                          $5,049 M
                                                                                            40%
                          IRR(lll                            ,. 82'Yo
                                                                                                       $90/$2.50           S90/$3.50            $90/$4.50           $90/$5.50
                          2012 Drilling Program              WI 62%, NRI 51,'o
                                                                                                                          NYMEX Pricing (Bbl/Mcf)
                          Total Locations                    "'8,000
                                                                                                                     ~      Mis.sissippian      -    Pennian

                                                                                                                                                       ~
                         (a) Includes infrastructura capex                                                                                            SANDRIDGE
                    8    (b) NYMEXStripasof08/27/2012                                                                                                        TH E   ,owu o, us·




                   Source: SD




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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                                                                               11




                   SD WATERFALL:




                     SUSQUEHANNA
                                 SIG                                                     SandRldge Energy                                                     Duane.Grubert@SIG.com
                                                                                Target Value vs pf 3q12 balance sheet
                                                                                                                                                                        $/share
                              14,000 . . . . - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,
                                           $75 oil prices           $3.00 gas


                                                                                                                                                                                   $20
                        I!!
                       :!!    10,000

                       l
                              8,000



                              6,000
                                                                                                                                                                                   $10


                              4,000

                                                                                                                                                                                   $5
                              2,000



                                                                                                                                                                                   $0
                                         Reserves     PDP, PUD           Oil/Gas   Cash/deal flow Working Capital   Secured Debt Unsecured Debt Other Liabilities Implied Equity
                                       (proved, and   (developed,                                                                                                     Value
                                        unproved)       undev.)




                   Source: SFG Research



                   Please also see our recent longer note on SD (click for note: Mispriced Miss(i ssippian))
                   (SPEED READ: Yo Y capex control, more and faster oil wells, solid partner bait, trading
                   below just proved reserves value while EBITDA goes to $2 billion run rate for 2015 plus
                   additional deal optionality along the way ... all supporting material upsides).




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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                                                                                                                                                            12




              SandRidge Energy                            2010A       Q1 2011A     I Q2 2011A I Q3 2011A I Q4 2011A      2011A      Q1 2012A     I Q2 2012A I Q3 2012A I   Q4 2012         201 2E      Q1   201 3     I Q2 2013 I 03 2013 I 04 2013        2013E
              A'odLK:ton
              Oi (M\tlbl)                                     7.4           2.6           2.8         3.2        3.3        11 .8         3.4           4.6         4.9         4.9           17.8             4.8          4.9       4.9       4.9           19.5
              Gas (Bcf)                                      76.2          17.3          17.2        17.9       16.9        69.3         15.7          21.9        27.2        28.3           93.0            28.3         29.2      30.1      30.7          118.2
              ~L ("1Mllll)
              M'.tlOE                                        20.1           5.5            5.6         6.2        6.1       23.4          6.1           8.2         9.5         9.6           33.3              9.5          9.7      9.9      10.0           39.2
              y-yo/o growth                                   15%          24%            24%         15%         6%         16%         11 %           46%        53%         58o/o          42%              57%          18%       5%        5%            18%

              Commodity Prices
              wnavg$/bbl                                    79.51         94.46        102.34       89.54      94.06       95.10      103.00          93.50      92.20        90.00          94.68           95.00        95.00     95.00     95.00          95.00
              Herry H.Jb avg $/M:f                           4.38          4.17          4.38        4.06       3.48        4.02        2.43           2.22       2.89         2.50           2.51            3.00         3.00      3.00      3.00           3.00

              Average Realized Prices (includes hedges)
              Oil$/bbl                                      69.90         79.76         76.26       76.94      79.28      78.06        86.27          89.76      91 .84       95.51          90.85           90.39        90.31     90.23     90.21         90.28
              Gas$/rrcf                                      5.49          3.54          3.31        3.08       3.11       3.26         2.35           2.39       2.23         2.54           2.38            2.47         2.47      2.47      2.47          2.47
              ~LS/bbl

              E&P~venue                                      775           267            312        318         329      1,227          341            430        488         539           1,798             503         510       518       520          2,052
              Other ~verue                                   157            46             53         45          45         188          40             49         45          49              182             85          86        87        87            346
              Tcxal                                         $932          $313           $366       $364        $374     $1 ,415        $382           $478       $533        $587          $1 ,900          $588         $597      $605      $600         $2,398

              Operating Costs
              A'odLK:oon                                    237.9           74.0          81 .8       86.6       80.5      322.9         83.3          122.5      137.0        151.8         494.7            147.3        150.6     154.0    155.7          607.6
              A'odLK:ton taxes                               29.2           10.6          12.7        10.4       12.5       46.1         12.3           11.0       13.0         26.9          63.2             15.1         15.3      15.5     15.6           61 .6
              [)'illing &Servr::es                           22.4           15.0          18.1        16.2       16.3       65.7         17.6           19.2       15.7         17.3          69.8             19.9         20.2      20.5     20.6           81 .0
              Mdstream&Mlrketing                             90.1           22.3          15.9        14.6       13.2       66.0          8.0            8.6       10.7         11.8          39.0             25.1         25.4      25.8     25.9          102.3
              DD8A - Oil &Gas                               275.3           73.9          76.2        86.7       89.8      326.6         87.1          139.3      166.1        168.4         560.9            171 .1       174.9     178.8    180.8          705.6
              DD8A - Other                                   50.8           13.1          13.3        13.6       13.7       53.6         14.5           15.3       16.5         16.7          63.1             17.1         17.5      17.9     18.1           70.6
              111)3irrrent                                    0.0            0.0           0.0         0.0        2.8        2.8          2.6            8.0        9.1          9.1          28.7             10.0         10.0      10.0     10.0           40.0
              General and Adninistrative                    179.6           34.4          37.7        36.3       40.3      148.6         50.3           61.7       46.8         47.4         206.2             42.8         43.7      44.7     45.2          176.4
              (Gan) loss on derivative assets                50.9         277.6         -170.0      -596.7      445.0      -44.1        254.6         -669.9      193.5          0.0        -221 .7             0.0          0.0       0.0      0.0            0.0
              (Gan) loss on sale of assets                    2.4          -0.2           -0.5        -0.4       -0.9       -2.0          3.1            0.3        0.4          0.0           3.8              0.0          0.0       0.0      0.0            0.0
              Other                                           0.0           0.0            0.0         0.0        0.0        0.0          0.0            0.0        0.0          0.0           0.0              0.0          0.0       0.0      0.0            0.0
              Tcxal                                         938.5         520.7           85.1      -332.8      713.3      986.2        533.3         -284.0      600.7        449.5        1~7.5             448.3        457.7     467.2    471 .9        1845.1

              Per l.ilit Economics ($/BOE)
              ~verue                                       $38.62        $48.91        $55.34      $51 .52     $53.99    $52.49        $56.41        $52.37      $51 .52     $56.06         $54.00          $52.92       $52.53    $52.14    $51 .79       $52.34
              A'odLK:tKJn                                  $11 .86       $13.55        $14.51      $14.01      $13.20    $13.82        $13.77        $14.92      $14.46      $15.80         $14.86          $15.50       $15.50    $15.50    $1 5.50       $15.50
              A'odLK:oon taxes                              $1.45         $1 .94        $2.25        $1.68      $2.04     $1 .97        $2.03         $1 .34      $1 .37      $2.80          $1.90           $1.59        $1.58     $1.56     $1 .55        $1 .57
              [)'illing &Servi::es                          $1.1 1        $2.76         $3.20        $2.62      $2.68     $2.81         $2.90         $2.34       $1 .65      $1 .80         $2.09           $2.09        $2.08     $2.06     $2.05         $2.07
              Mdstream&Mlrketing                            $4.49         $4.08         $2.81        $2.37      $2.17     $2.82         $1 .31        $1 .04      $1 .13      $1 .23         $1 .17          $2.64        $2.62     $2.60     $2.58         $2.61
              008A - Oi &Gas                               $13.72        $13.54        $13.51      $14.03      $14.73    $13.98        $14.39        $1 6.97     $17.53      $17.53         $16.85          $18.00       $18.00    $18.00    $18.00        $18.00
              008A - Other                                  $2.53         $2.40         $2.35        $2.19      $2.25     $2.29         $2.40         $1 .87      $1.74       $1.74          $1 .89          $1 .80       $1 .80    $1.00     $1 .00        $1 .80
              111)3i'ment                                   $0.00         $0.00         $0.00        $0.00      $0.46     $0.12         $0.43         $0.97       $0.96       $0.94          $0.86           $1 .05       $1 .03    $1 .01    $1.00         $1 .02
              Generaland Adninistrative                     $8.95         $6.~          $6.68        $5.87      $6.00      $6.36        $8.31         $7.52       $4.94       $4.94          $6.19           $4.50        $4.50     $4.50     $4.50          $4.50
              (Gan) loss on derivative assets               $2.54        $50.86       ($30.14)    ($96.54)     $72.97     ($1.89)      $42.08       ($81 .62)    $20.42       $0.00         ($6.66)          $0.00        $0.00     $0.00     $0.00          $0.00
              (Gan) loss on sale of assets                  $0.12        ($0.04)       ($0.09)      ($0.07)    ($0.15)    ($0.09)       $0.51         $0.04       $0.04       $0.00          $0.11           $0.00        $0.00     $0.00     $0.00          $0.00
              Other                                         $0.00         $0.00         $0.00        $0.00      $0.00      $0.00        $0.00         $0.00       $0.00       $0.00          $0.00           $0.00        $0.00     $0.00     $0.00          $0.00
              $ Mlrgn per Lni                              ($8.16)      ($48.49)       $40.26     $105.36     ($62.96)    $10.30      ($31.72)       $86.97     ($12.71)      $9.29         $14.74           $5.75        $5.43     $5.11     $4.82          $5.27

              Operating ncorre (EBfT)                         ($7)        ($208)         $200        $697      ($339)      $429        ($152)          $762       ($76)        $138           $673           $140         $139       $138     $136           $553
              Adµsted EBrT                                    $47           $70          $109         $99       $107       $386         $109           $101       $127         $147           $483           $150         $149       $148     $146           $593
              Adµs ted Operati1g Mlrgin o/o                    5%           22%           30%         27o/o      29o/o      27%          28%            21%        24%          25%            24%            25%          25%        24%      24%            25%

              rterest Expense                                (246)          (59)          (62)        (59)        (57)      (238)         (67)          (69)        (82)        (82)          (299)            (85)         (87)      (84)      (83)          (340)
              ncorre Tax (expense)/benefi                     447            (0)            7           (1)        (0)         6           (0)          104           0                        104

              Fuly Diluted Shares Outstanding                 355           488           496         498        399        470          583            583        583          583            583             588          588       588       588           588

              ~TY METRICS
              81                                            6,061                                                          5,672                                                             7,572                                                           3,890
              Adµsted EBfTD/1                                 614           146           156         169        175         646         185            269        297          321          1,072             325          328       332       332          1,317
              OJrreri share pri::e/EBfTD/1 est                3.8x                                                           4.7x                                                              3.5x                                                            2.9x
              Adµsted 8'S (diuted)                          $0.05        ($0.02)        $0.00       $0.01      $0.02       $0.01        $0.04         $0.07       $0.05       $0.04          $0.20           $0.03        $0.03     $0.03     $0.03          $0.13
              8//EBITIY\                                      9.9x                                                           8.8x                                                              7.1x                                                            3.0x

              BALAt«:ESHEET
              Cash                                                6            9             5         325        208         208          128           421         674         529            529             738          961       715       439            439
              0-edl Faclly                                    340            324            00           0          0           0            1             0           0           0               0            234          117        58        29             29
              Securiized Debt                               2,562         2,849         2,812       2,813      2,813       2,813        2,813         3,549       4.~         4.~            4,300           4.~          4.~       4.~       4,299          4,299
              Net Debt                                      2,896         3,164         2,888       2,487      2,605       2,005        2,686         3,128       3,627       3,771          3,771           3,796        3,455     3,643     3,890          3,890
              Net Debt/EV                                 ~                                                              ~                                                             -       50o/o
                                                                                                                                                                                                                                                       -       50%



              Riese rves Detail                                    Reserve & c11terprise Value Metrics
               2011 (mmboe)                                   471 8//BOE           $15.77
              %Oil                                           52% e.JIRY            $32.18
              'Yo Gas                                         48% Net Dlbt/BOE      $7.70
              % A'oved Developed(~                           49% Net Debt/P!F      $1 5.71
              'Yo A'oved U'ldeveloped (RJO)                  51%
               RIP                                           23.5
               AYI P                                          11.5

             Source:SFG Research




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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                                      13




                            Price target valuation and risks
                            SandRidge Energy, lnc.(SD, Price: $6.10, Price Target: $12.00):
                            Assuming $75 oil and $3.00 gas prices in the long term, our NAV/share is $12 based on our view of proved and
                            unproved reserves value adjusted for the most recent quarter's balance sheet. On its own , SandRidge had a higher
                            value per barrel of proved reserves versus our coverage universe (SEC standardized measure of $14 per boe vs. a
                            group average near $12).

                            Investors are exposed to multip le risks unique to the oil and gas sector. Oil and gas producers are exposed to
                            volati le commodity prices, cost increases, physical drilling and construction risks, business and environmental
                            litigation, changes to commercial terms (including the risk of incremental government taxation), and exploration and
                            development results uncertainties. SD's ability to grow oil production is a risk to the shares.

                            Devon Energy (DVN, Price : 54.02, Price Target : 74.00)
                            Assuming $75 oil and $3.00 gas prices in the long term, our NAV/share is $74 based on our view of proved and
                            unproved reserves value adjusted for the most recent quarter's balance sheet. On its own, DVN had a low value per
                            barre l of proved reserves versus our coverage universe (SEC standardized measure of $6 per boe vs. a group average
                            near $12).

                            Investors are exposed to multiple risks unique to the oil and gas sector. Oil and gas producers are exposed to
                            volatile commodity prices, cost increases, physical drilling and construction risks, business and environmental
                            litigation, changes to commercial terms (including the risk of incremental government taxation), and exploration and
                            development results uncertainties. DVN's ability to grow liquids/oil production is a risk to the shares .




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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                                                                                              14




Analyst Certification
I, Duane Grubert, hereby certify that the views each of us has expressed in this research report accurately reflect each of our respective personal views about the subj ect
securities and issuers. We also certify that no part of our respective comp ensation was, is, or will be, directly or indirectly, related to the specific recommendations or vi ew
expressed in this research report.

Important Disclosures
SFG is a market maker in the securities of SandRidge Energy, Inc. and Devon Energy (SD and DVN) .
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volume, Volume (contracts). Any others will be specifically sourced.
SFG employs the following rating system:
Positive : We expect this stock to appreciate by at least 15% over the next 12 months. Upon the initiation of a Positive rating, we expect this stock to appreciate by at least 20%
over the next 12 months.
Neutral : We expect this stock to perform within a range of +/-15 percentage points over the next 12 months.
Negative: We expect this stock to depreciate by at least 15% over th e next 12 months. Upon the initiation of a Negative rating, we expect this stock to depreciate by at least
20% over the next 12 months.
Suspended: Th e previously published rating and/or estimates are currently suspended and under review.
Defined Credit Terms
Gross debt+ preferred TEV: (Gross Debt+ Preferred)/ Total Enterprise Value (expressed as a%) .
Net debt/ EBITDA: Net Debt (gross debt less cash on hand)/ EBITDA           = forward year EBITDA estimate.
Free cash flow: Forward EBITDA estimate less cash taxes less cash interest less total capex.
FCF yield : FCF Yield ((FC F/ Fully Diluted shares outstanding / current share price) (expressed as a%)).
YTM: Yield-to-maturity ("YTM") implied by any of its bonds outstanding that are due in 5 years ((or closest to)(expressed as a%)) .
5-yr treasu ry yield : 5-year US Treasury yield (expressed as a%).
Volatility Definitions
Volume: The 20-day average option contract volum e for the symbol.
Skew Ran k: The current day's Skew values compared to the past year's worth of skew values and then rank the current day 's value. Past year in the calculation is 252 previous
trading days which includes the last trading day.
Impl ied Vo latility: Implied Volatility is the at-the-forward volatility level implied by market option prices for 90 days. Wh il e implied volatility is specific to the time frame
selected, it is always presented as an annualized standard deviation .
Realized Volatility: It is the Realized Volatility of a financial instrument over 90 d ays. Generally, this measure is calculated by determining the average deviation from the
average price of a financial instrument in the given tim e period . This measure is frequ ently compared with implied volatility to determine if options prices are over- or
undervalued. It is also known as historical volatility.

Ratings Distribution & Investment Banking Disclosure
Covered companies in each Category                         Investment banking client in each category
Positive (Buy) 48.66% (145)                                Positive (Buy) 0.00% (0)
Neutral (Hold) 45.97% (137)                                Neutral (Hold) 0.00% (0)
Negative (Sell) 5.37% (16)                                 Negative (Sell) 0.00% (0)
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SANDRIDGE ENERGY, INC. CHANGING ESTIMATES NOVEMBER 9, 2012                                                       15




   Rating and Price Target History for: SandRidge Energy, Inc. (SD) as of 11-08-2012
                                                                                                      02/29/12
                                                                                                       B:$13
                                                                                                           15

                                                                                                           12

                                                                                                           9

                                                                                                           6


                                                                                                           3


                                                                                                     Q3    0
                                                                                            Q2

     04/23/12
      B:$12




   Rating and Price Target History for: Devon Energy (DVN) as of 11-08-2012




    f----+---------------~--------------f-----------------145

    '----+------'Q-1_ _ _Q2
                         ____Q_3_ _ _~---Q-1_ _ _Q2
                                                  _ _ _ _Q..._3_ _ _""1--_ _ _Q_1_ _ _ _
                                                                                       Q2_ _ _ _Q_3____. JO

         2010                              2011                               2012




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                                                                                                                                                                  NOVEMBER 12, 2012


                                                                                                           EXH\B\TNO.
                                                                                                            (/l •( Gt ..  ,q
                                                                                                            p. Frederickson, C~R, CCR
    COMPANY UPDATE
                                                                                                            "    _
                                                                                                                 .....




                                                                             SandRidge Energy, Inc. :
    SandRidge Energy, Inc.                                                                                                                  Duane Grubert
    Symbol                                                              SD
                                                                             Evolving Plot Line for Dented                                  du ane.g rubert@si g.com
                                                                                                                                            203 326 5029
    Rating
    Price
                                                             Pos itive
                                                                   $5.51
                                                                             Franchise                                                      George Wang
                                                                                                                                            g eorg e.wang@sig .com
    Price targ et                                                 $1 2.00    Call to action                                                 212 510 4454
    Down side risk                                                 $5.00
                                                                             SD 's Mississippian per-well recovery quality appears
                                                                             down (think: A+ goes to A-) , but still w ith 50%
    Company market data
                                                                             project returns (similar to Permian) and huge in
    52 week range                                        $9.04-$4.81
                                                                             scale. Now a planned hot-market premium sale of
    Sha res out.                                         491 .077mm
                                                                             Permian assets could swap $100 million annual free
    Market cap.                                            2,706mm
    Average daily trading volume                          11,045,684
                                                                             cash flow for $500 million premium upfront, clinching
    Beta                                                            1.96     2014 growth funding . Skittish over both governance
                                                                             (w ith activist now vis ible) and returns, shares value
    Calendar year December                                                   much less than proved reserves, say $7-8, an unlikely
                                 2012e                       2013e           durable condition . We stick with our $12 ta rget.
    EPS                  Prior   Current         Prior      Current
    01                           0.04A                           0.03
    02                           O.Q7A                           0.03        HIGHLIGHTS
   03                            O.OSA                           0.03        SPEEDREAD: A+ Miss now given an A-, but still huge. Hot-market sale of Permian would
   04                                0.04                        0.03        create independent funding through 2014 towards 15-year self-funded Miss program, likely
   CY EPS                            0.20                        0.13
                                                                             to get company sold medium term, w ith activism looking to accelerate that.
    P/ E                             27 .6x                  42.4x
    EBITDA ($)                       1,072                       1,317
                                                                             • Simplifying complexity, we see development costs on SD's Mississippian going from $12-
   Credit                                                                      $13 per barrel of black oil to $16 to $18 depending on the subsidy of gas prices .

   Gross leverage                                                40.00%
   Net debt/EBITDA (12m fwd )                                       3.2x     • Evolving plot line : SD's A+ Mississippian oil wells (80% project returns) are now expected to
   Free cash flow (1 2m fwd)                              $(643)mm             be A- (50%, in line with Permian Basin drilling) as results are gass ier in most recent drilling.
   Free cash flow yld (1 2m fwd)                            (15.00)%           Cost control or reservoir characterization may restore the A over time, but assume A- for
   Implied 3-to-7 year YTM                                        7.00%        now. Meanwhile, an intended joint venture tactic to clinch 2014 growth funding wi ll likely
   5-yr US treasury yield                                         0.64%        be replaced by a hot-market (to MLP players) mature Permian Basin asset sale , w hich swaps
                                                                               $100 million annual free cash fl ow (used for Miss growth) fo r say $500 million premium
   Derivatives                                                                 value (in a $2 billion ta x protected deal), maybe much more, up front .
   Volume (contracts)                                            15,22 1
   Skew rank (2yr %-tile)                                           8.1 5    Continued on the next pag e

                                                                             Catalysts
    -      Share price           -       Implied, Real ,:ed volatility
                                                                             Peer announcements of Mississippian progress or partnerings may be positi ves for SD .
    13                                                            126
     12                                                           114        Perm ian sale is also a catalyst.
    11
    10
    9                                                                        Downside risk
                                                                             Commodity price movements usually comprise the largest risk/ reward component to E&P
                                                                             stocks . Our downside risk of $5, w hich is a $2 discount to the NAV/ share at $75 o il and
                            :=    ~
                                                            ~                $3 .00 gas. SD-Specific Risk: Logistics challenges could emerge for both water disposal and
                                     >                       >
                                     0                       0
                                  z                         z                f ield personnel availability, given t he likely thousands of employees that will be requ ired to
                                                                             develop, process and transpo rt Mississ ipp ian oi l, gas and mostly wate r in th e years to come.
                                                                             Injection permitting challenges seem min imal so far; how ever, they could be a stumbling
                                                                             po int as sector activity ramps up .
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SANDRIDGE ENERGY, INC. COMPANY UPDATE NOVEMBER 12, 2012                                                                                              2




                            HIGHLIGHTS
                            Continued from previous page

                            • That takes us from $7 of proved reserves value and a $12 target with debt around 60% of proved value, to $7 +
                              of proved reserves value (via the Permian premium sale) and a $12 target (where Permian premium offsets some
                               erosion of outyear value) but debt at just 45% of proved reserves value. It also makes SD more saleable, albeit
                               reliant on ongoing Mississippian success, which we expect.


                            • If the Perm ian sale is a mirage, SD can still pursue a joint venture partner, although now as an eroded counterparty,
                              given flip-flop tactics and an active activist on the prowl .


                            • Bulls need no additional grade erosion from A-, and cost efficiencies (pad drilling, subzone additions) might restore
                              an A Bears would love to see a failed Pe rm ian sale (or now Plan B jv), or stubborn pursuit of worsening economics,
                              unlikely in our view, as SD management has a history of regrouping when things go awry.


                            • With more wells but lower per-well oil recoveries, the same oil per square mile comes out, at a higher cost than had
                               been suggested. That reduces value of the Mississippian future development, to be in line with Permian drilling
                               quality. Stock pays for no future development, although profitable $20+ billion program over 15 years seems likely.




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  SANDRIDGE ENERGY, INC. COMPANY UPDATE NOVEMBER 12, 2012                                                                                       3




                           Meanwhile, SD's Permian assets, built up after acquisitions from Arena and Forest, might be sold into a hot
Some fear Miss will        M LP driven market. If SD gets $80,000 per flowing barrel (that might be 25% low) for its 24.5 mbde assets,
co ntinue to erode         we think it would give an extra $1 per share of support to shares, and give more balance sheet flexibility to
(from very good). If       drill up the Mississippian. SD has ample tax losses that should enable a tax efficient sale.
so, SD would
regroup. Meanwhile,        Also, see (click titles) our recent SD update notes: Mispriced Miss(issippianl and Good 3Q. Fresh Bold Tactics and
                           We Ponder Activist Agendas.
shares pay ahead for
nothing, not even          Without getting too detailed here, our $12 target gives credit for proved reserves value ($7) plus a medium
paying for proved          term tranche of development. Now likely Permian sale (+1) boosts proved reserves value outlook, while
reserves (say $7 per       medium-term outlook erodes a bit (-$1). We'll call it even.
share) or any
Permian sale upside.       Sentiment towards management is quite negative, but activist agenda is unclear beyond axing the CEO in
                           order to avoid fancy future deal making. If Permian is sold, funding SD through 2014, duller managers might
                           be tasked with blindered focus on just drilling wells, with less investor drama, but easier path towards our
                           target, and maybe easier sale of firm . Stay tuned .

                           New Well Economics
SD 's 30 conference        SD investors rely on the Mississippian, and per well expectations have taken a haircut.
call was a mess, with
                           SD had indicated 8,000 wells for say $26 billion with 80% returns ... now it suggests 11,000 wells for say $37
investors debating
                           billion with 50% returns. Or simpler . .. it had said 600 mbo per square mile for $10 million ($16+/bo) , now
whether it's worth
                           it's 600 mbo for $13.6 million ($23+/bo) on the same square mile, now with 4 wells instead of three. If we
selling a great asset
                           throw in some low priced gas value, our dollar per bo goes from say $13 before, to $18 now, worse, but not
for a very great
                           bad . SD says it had 80% project returns, now says 50%, similar to Permian drilling, and in line with our
price, or if a stock
                           scoping numbers.
already pricing in
failure should sell off    From around 200 thousand barrels of oil per well and some gas, to 150 thousand BO and some gas, with
further when very          costs stubbornly flat to up. The up is also complex.
terrific project
                           Costs of $3.2 million per well had been characterized as including $200,000 as a prorated share of disposal
returns are signaled
                           well costs . More recently, $200,000 of it is for an Electrical Submersible Pump (ESP), which moves more fluid
as merely terrific.
                           volume, thus accelerates oil production. The first (disposal) is necessary, the second (ESP) is profitable.

                           SD gets more fluid out of the ground faster with ESPs. That's good if you're making oil . SD could choose
                           NOT to pay $200,000 per well, but oil would be produced slower. SD says payouts on the pumps are
                           compelling, but hasn't convinced investors, many attuned more to per well costs than influence of
                           components on the cost.

                           Earl ier, we had suggested assuming 200 thousand barrels of oil per $3.2 million well, with about $600,000 of
                           lowball gas value leaving us with a $13 per barrel finding cost, supporting SD's 80% project return
                           assertions. Now SD says to assume more like 150 mbo, with all in well costs maybe the same eventually, but
                           closer to $3.4 million now. Subtract the lowball gas, now around $700,000 of lowball value, and we're at $2.7
                           million for 150 mbo or $18 finding costs for black oil . That's a big difference, and SD says it has more like
                           50% project returns rather than 80%. That's still compelling .

                           Especially negative investors suggest the Mississippian will be a disaster and take the company down .
                           Recent sector history has had severe overcapitalization of the Haynesville as an example of a play that
                           disappointed due to market conditions. Here, high early oil volumes and decades of vertical well data
                           suggest little disastrous downside lurking related to production declines. In fact, we suspect learning curve
                           advances will reduce well costs, help pick fewer lower reserve locations, and allow for subzone
                           redevelopment, including the underlying Woodford, where Devon and others have already established
                           production in the same areas.




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SANDRIDGE ENERGY, INC. COMPANY UPDATE NOVEMBER 12, 2012                                                                                   4




                         If the stock was at $20, going from 8000 wells with 80% returns to 11000 wells with 50% returns would have
                         been a mixed bag shocker . . . but the $6 stock already assumes broad failure . We are long both SD and
                         related aspirin intake.

                         Appendix
                         Beyond the drama . .. what other news came out of the 30 call?

                         •   3 recent strong Kansas wells, averaged 377 boed in the northern part; in 3012, 65 wells averaged 291
                             boe 30-day IP, and running 9 rigs; will drill 191 wells in Kansas in 2013.

                         •   5 producers per disposal well, $2 min to drill each, ten wells per d isposer at peak, about half occupied
                             now.

                         •   33% more locations but minus 24% oil per well.

                         •   62% IRR at Permian vs. 50% at Mississippian; at strip ($90 oil), Mississippian IRR now at 50% vs . 82%
                             previously.

                         •   Mississippian EUR at 421 mboe vs . 456 previously.

                         •   Oil now 155 mbo, vs. 204 previously.

                         •   Original Mississippian is gassier, oily now 40% vs . 45% before: 40% crude 15% NGL 45% gas .

                         •   Mississippian production : 30.7 mboe/d in 30, flat in 4012.

                         •   In the Mississippian : 33 rigs to drill 390 wells in 2012; 38/43 rigs to drill 580/675 wells in 2013/2014.

                         •   2013 guidance assumes 1.5 mmboe lower in Permian production .

                         •   $600 min CF outspend in 2014 per our estimate.

                         •   3.25 min well cost without disposal, aims to drive it down to $3 min .

                         •   Kansas JV may still happen in 2013. Can 't rule it out.

                        •    Base decline in production 30% in Permian, 40% in Mississippian.




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SANDRIDGE ENERGY, INC. COMPANY UPDATE NOVEMBER 12, 2012                                                                                             5




                            Price target valuation and risks
                             SandRidge Energy, lnc.(SD, Price : $5 .51, Price Target: $12 .00):
                            Assum ing $75 oil and $3 .00 gas prices in the long term, our NAV/ share is $12 based on our view of proved and
                            unproved reserves value adjusted for the most recent quarter's balance sheet. On its own, SandRidge had a higher
                            value per barrel of proved reserves versus our coverage universe (SEC standardized measure of $14 per boe vs. a
                            group average near $12) .

                            Investors are exposed to multiple risks unique to the oil and gas sector. Oil and gas producers are exposed to
                            volatile commodity prices, cost increases, physical drilling and construction risks, business and environmental
                            litigation, changes to commercial terms (including the risk of incremental government taxation) , and exploration and
                            development results uncertainties. SD's ability to grow o il production is a risk to the shares.




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SANDRIDGE ENERGY, INC. COMPANY UPDATE NOVEMBER 12, 2012                                                                                                                                        6




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securities and issuers. We also certify that no part of our respective compensation wa s, is, or will be, directly or indirectly, related to the specific recommendations o r view
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average price of a fin ancial instrument in the given time period . Th is measure is frequently compared with im p lied volatility to d etermine if options p1·ices are ove r- or
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Ratings Distribution & Investment Banking Disclosure
Cove red compani es in each Category                         Investment banking client in each category
Pos itive (Buy) 48.66% (145)                                 Positive (Buy) 0 00% (0)
Neut ral (Hold) 45.97% (137)                                 Neutral (Hold) 0.00% (0)
Negative (Sell) 3.37% (16)                                   Negative (Sell) 0 .00% (0)
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SANDRIDGE ENERGY, INC. COMPANY UPDATE NOVEMBER 12, 2012                                    7




    Rating and Price Target History for: SandRidge Energy, Inc. (SD) as of 11-09-2012




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      B:$1 2




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                                                                    r
                                                                        _Gv-~,'w                           North America Equity Research
J.P.Morgan                                                              EXHIBIT NO. £                      16 November 2012
                                                                        ~ ·tq ·(q
                                                                   .._ P. Frederickson, CSR, CCR
                                                                                                   ~


                                                                                                           Overweight
SandRidge Energy Inc.                                                                                      SD, SD US
                                                                                                           Price: $5.34
Less Enthused but Still Think the Stock Is Cheap and
                                                                                                       T   Price Target: $9.50
Will Outperform                                                                                            Previous: $12 .00


Last week, SandRidge reported earnings and disclosed new data on its Miss                                  Oil & Gas Exploration &
play. It also indicated that it plans to pursue a potential sale of its Permian                            Production I Natural Gas
assets. Some of its biggest shareholders are calling for significant changes in                            Joseph Allman, CFA                   AC
the company. We reduced our valuation on the Miss play and the shares, but                                 (1-212) 622-4864
we think the stock still is cheap and has catalysts. Thus, we think the stock                              joseph .d.allman@jpmorgan .com
will outperform.                                                                                           Jessica Lee
                                                                                                           (1-212) 622-9812
• Less enthused on Miss but still good play. SD downgraded its Miss play                                   jessica.s.lee@jpmorgan.com
  on three fronts: it reduced the average per well oil cut, lowered the average
                                                                                                           Jeanine Wai
  per well EUR, and raised the average well cost. Despite the negative impact
                                                                                                           (1-212) 622-6489
  on rate of return, the Miss still appears to offer an attractive rate of return,                         jeanine.wai@jpmorgan .com
  using NYMEX futures prices, of around 25% (see Tables 1 and 2). And the
                                                                                                           RJ McCain, CFA
  scale of the play, with potentially 11,000 wells to drill, provides SD with the                          (1-212) 622-6215
  opportunity to add significant value.                                                                    rj .mccain@jpmorgan.com

                                                                                                           J.P. Morgan Securities LLC
• Hit to NAV. SD reduced its average Miss EUR from 456 MBoe to 422
  MBoe and the oil cut per well from 45% to 37%. In our last model, we
                                                                                                           Price Performance
  already had reduced the oil cut to 40%, but our new model reduces the life-                                9.0
  of-well oil cut further to 37% and reduces the EUR to 422 MBoe. The                                        8.0
  higher average well cost mainly comes from the use of electrical                                          $7.0
  submersible pumps (ESPs) to better move liquids and accelerate oil                                         6.0
  recovery. Current NYMEX NAV now is $8.40/share, down from our prior
  calculation of $11.22/share.                                                                                 Nov-11     Feb-12   May-12   Aug-12   Nov-12

                                                                                                                         -    SD share price ($)
                                                                                                                         -    RTY (rebased)
• Investors get active. Two of the biggest shareholders have written letters                                            YTD        1m            3m           12m
  to the board demanding change including, but not limited to, a new                                        Abs         -34.8%     -25.5%        -17.8%       -29.1%
  CEO/Chairman; more independent board members with representatives of                                      Rel         -38.7%     -18.4%        -13.5%       -32.7%

  the top shareholders; and pursuit of strategic alternatives, including
  reconsideration of the Permian sale, sale of the GOM assets, or sale of the
  whole company.
• Decreasing Dec 2013 target to $9.50/share. Our price target for SD
  represents 95-100% of NYMEX NAV at YE 13, a slight discount to where
  the group is trading. The E&P stocks are trading at 100-105% of current
  NYMEX NAV and, since the market seems to lack confidence in the
  company's financial position and strategy, we think the company will trade
  at a discount to the group median until that confidence grows.
SandRidge Energy Inc. (SD;SD US)
FYE Dec                     2011A                  2012E     2012E          2013E          2013E       Comean~ Data
                                                   (Prev)      (Curr)        (Prev)          (Curr)    Price($)                                             5.34
CF/Sh($)                                                                                               Date Of Price                                 16-Nov-12
Q1 (Mar)                             0.20          0.31A      0.31A           0.31            0.31     52-week Range ($)                             9.04 - 4.81
Q2 (Jun)                             0.27          0.40A      0.40A           0.31            0.32     Mkt Cap ($ mn)                                  2,620.91
Q3 (Sep)                             0.29          0.50A      0.50A           0.32            0.32     Fiscal Year End                                      Dec
Q4 (Dec)                             0.32           0.33       0.32           0.31            0.31     Shares 0/S (mn)                                       491
FY                                   1.08           1.53        1.53          1.24            1.26     Price Target ($)                                     9.50
Bloomberg CPS FY {$}                 0.92                       1.47                          1.63     Price Target End Date                         31 Dec 13
Source: Company data and J.P . Morgan estimates.


See page 15 for analyst certification and important disclosures.
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                                    Mississippian
                                    Miss Metrics
                                    Below we show the Mississippian play new assumptions (Table 1) versus our prior
                                    assumptions (Table 2). The biggest changes include decreases in EUR and oil cut
                                    and an increase in costs.

                                    Table 1: Economic of Average Mississippian Hz Well (New Assumptions)
                                                                                     Assumptions
                                            Assumed EUR (MBoe)                    422                  LOE ($/Mete)                   $1 .61
                                                    Oil%                         37%1             Transportation ($/Mete)             $0.00
                                                   Gas%                           63%               Production tax (%)                 7.5%
                                        Assumed 24-hr IP rate (Boepd)             402                    Royalty(%)                   20.0%
                                              Discount rate (%) 3               10.0%             Oil differential ($/Mete)           $4.00
                                              Output ($3.45 MM current well cost)                      Output ($3.25 MM target well cost)
                                I                    IRR                        24.9%                        IRR                      27.4%                               I
                                                 F&D ($/Mete)                    $1 .70                F&D ($/Mete)                   $1.60
                                        Break even gas price ($/Mete) 2          $3.07        Break even gas price ($/Mete) 2         $2.96
                                        Break even crude price ($/Bbl)          $61.50         Break even crude price ($/Bbl)        $59.38
                                I                NPV .($ '000)                  $2,445                 NPV($ '000)                    $2,645                              l
                                    Source: Company reports and J.P. Morgan estimates. Note: IRR using NYMEX futures as of November 8, 2012 ($86.49/Bbl and
                                    $4.54/Mcf long-term). 1 First month: 55% oil, third year: 37% oil, and 10th year: 33% oil. 2 Using Oil/Gas multiple of 18.4x. 3 Use
                                    10% discount rate to calculate NPV.

                                    Table 2: Economic of Average Mississippian Hz Well (Old Assumptions)
                                                                                    Assumptions
                                            Assumed EUR (MBoe)                    456                 LOE ($/Mete)                   $1.61
                                                    Oil%                          45%            Transportation ($/Mete)             $0.00
                                                   Gas%                           55%              Production tax (%)                7.5%
                                        Assumed 24-hr IP rate (Boepd)             380                   Royalty(%)                   20.0%
                                              Discount rate (%) 2               10.0%            Oil differential ($/Mete)           $4.00
                                              Output ($3.45 MM current well cost)                     Output ($3.25 MM target well cost)
                                I                    IRR                        32.7%                       IRR                      35.5%                                j
                                                 F&D ($/Mete)                    $1.58                F&D ($/Mete)                   $1.48
                                        Break even gas price ($/Mete) 1          $2.58       Break even gas price ($/Mete) 1         $2.50
                                        Break even crude price ($/Bbl)          $51.82        Break even crude price ($/Bbl)        $50.11
                                I                NPV($ '000}                    $4,126                NPV($ '000}                    $4,326
                                    Source: Company reports and J.P. Morgan estimates. Note: IRR using NYMEX futures as of November 8, 2012 ($86.49/Bbl and               '
                                    $4.54/Mcf long-term). 1 Using Oil/Gas multiple of 18.4x. 2 Use 10% discount rate to calculate NPV.




                                    Management indicated that SD's change in assumptions primarily came from more
                                    data. When SD unveiled its 456 MBoe EUR assumption in February 2012, it
                                    appears to us that it based its assumptions on around 120 wells with 60 days of
                                    production, 70 wells with 180 days of production and 35-40 wells with 365 days of
                                    production. Over the course of the past nine months, it now has more wells (at least
                                    160 wells with one year of production) and more production history for a greater
                                    number of wells. Also impacting the data is the use ofESPs. The ESPs cause the oil
                                    IP rate to be higher but the first year decline rate to be steeper as well (previous first
                                    year oil decline rate was 63% but now it is 77%). In 2013, SD estimates that it will
                                    use ESPs on around 40% of its wells.




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                                 Flaws in Public Well Data
                                 Some investors question the economics of the Miss, partly based on the public data
                                 available from the Oklahoma Corporation Commission (OCC) and the Oklahoma
                                 Tax Commission (OTC). The public data might be useful, but flaws in the data
                                 require analysts to be very careful in working with the data.

                                 Of 30 randomly selected wells from the publicly available database, 28 have flaws in
                                 the oil production and one of the remaining two has flaws with the natural gas data.
                                 In the 28 oil production data problems, the data have missing oil production during
                                 certain months. Graph 1 shows an example of the flawed data. For this example, we
                                 use the Greve l-29H well. The oil curve below shows that, after the initial peak rate,
                                 the oil curve drops to zero during seven months, including the last three months. In
                                 reality, the production does not drop to zero. It is a data integrity problem. If
                                 analysts use this data to calculate an average EUR for SD's wells, the data will
                                 suggest a lower EUR than SandRidge's estimate of 422 MBoe per well. For some
                                 reason, the problem occurs most often with oil data but it also occurs with gas data.

                                 Figure 1: Greve 1-29H Miss Hz well oil and gas production
                                                                                                                                   2,000

                                                                                                                                   1,800
                                              5,000
                                                                                                                                   1,600

                                                                                                                                   1,400
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                                                              ..... GREVE-1-29H Gas (Mcf)   -   GREvE-1-29H Oil (Bbl)


                                 Source: HPDI and J.P. Morgan estimates.


                                 Though we are unsure how reliable the data are for the non-zero months, we took the
                                 data from a random selection of SD wells and eliminated the zero months. The data
                                 confirm SD's estimate of a 77% first-year decline for oil and a 60% first-year decline
                                 for gas.

                                 Table 3: Actual First Year Decline Versus Company Guidance
                                                                                                Total                   Gas                      Oil
                                 Actual average first year decline                               N/A                    64%                     79%
                                 Company guidance first year decline                            69%                     60%                     77%
                                 Source: Company and J.P. Morgan estimates.




                                                                                                                                                       3
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                                Production by Region
                                Miss is Growing
                                We expect total production (liquids and gas) to increase 6% from 4Ql2 to 4Ql3 and
                                18% from FY12 to FY13. The combination of Miss growing and the Permian
                                declining contributes to overall 2% liquids production growth from 4Q 12 to 4Q 13
                                and 10% growth from FY 12 to FY 13.

                                We model SD's liquids production in the Mid-Continent region (mostly from Miss
                                Hz wells) to increase 41% from 4Ql2 to 4Ql3 (see Table 4). The company stated
                                that it expects Miss Hz oil production growth to be 55-60% from YE12 to YE13.
                                Due to lower Permian spending, we estimate liquids production in the Permian to
                                decrease 19% from 4Q 12 to 4Q 13.




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Table 4: Regional Production Assumptions
                                                                                                                                  I   4Q12-
                                                                                                                                       4Q13
                            1Q12         2Q12     3Q12       4Q12       FY12      1Q13    2Q13      3Q13      4Q13        FY13        Growth
Gas (MMcfpd)
Permian                     29.9          27.4    27.9       26.5       27.9      24.6    22.9      21.3      19.8        22.2        -25%
WTO                         59.6          55.9    50.7       45.6       52.9      41.1    37.0      33.3      29.9        35.3        -34%
E. Texas                      0             0       0         NA         NA        NA      NA        NA        NA          NA          NA
GOM                          2.8           62     92.9       92.9       62.8      92.9    92.9      92.9      92 .9       92.9         0%
Gulf Coast                   7.3           7.3    10.4       10.4        8.9       9.4     8.4       7.8       7.4         8.2        -29%
Mid-Con                     73.4           88     113.6      130.6      101.5     143.7   158.1     172.3     186.1       165.2       42%
Tertiary                      0             0      0.0        0.0        0.0       0.0     0.0       0.0       0.0         0.0         NA
Total gas
eroduction                  173.0        240.6    295.5      306.1      254.1     311.7   319.3     327.5     336.1       323.7        10%
Oil+NGL (Mbblpd)
Permian                     25.7          24.8    26 .1      25.6       25.5      24.3    23.1      21.9      20.8        22.5        -19%
WTO                          0.2           0.3     0.2        0.1        0.2       0.1     0.1       0.1       0.1        0.1          0%
E. Texas                      0             0       0         NA         0.0       NA      NA        NA        NA         0.0          NA
GOM                          0.7          10.9    13.1       13.1        9.5      13.1    13.1      13.1      13.1        13.1          0%
Gulf Coast                   0.5           0.5     0.7        0.7        0.6       0.7     0.7       0.7       0.7        0.7          -4%
Mid-Con                      9.8           13     13.7       13.7       12.6      14.9    16.3      17.7      19.3        17.1         41%
Tertia~                      0.8           0.6      0         0.0        0.3       0.0     0.0       0.0       0.0        0.0          NA
Total liquids
production                  37.7          50.1    53.8       53.2       48.7      53.1    53.2      53.6      54.0        53.5         2%
Total (MBoepd)
Permian                     30.7          29.4    30.8       30.0       30.2      28.4    26.9      25.5      24.1        26.2         -20%
WTO                         10.1           9.6     8.7        7.7        9.0       6.9     6.3       5.6       5.1         6.0         -34%
E. Texas                     0.0           0.0     NA         NA         NA        NA      NA        NA        NA          NA          NA
GOM                          1.2          21.2    28.6       28.6       19.9      28.6    28.6       28.6     28.6        28.6          0%
Gulf Coast                   1.7           1.7     2.4        2.4        2.1       2.3     2.1        2.0      1.9         2.1         -22%
Mid-Con                     22.0          27.7    32.6       35.5       29.5      38.9    42.6      46.5      50.4        44.6         42%
Tertia~                      0.8           0.6     0.0        0.0        0.3       0.0     0.0        0.0      0.0         0.0         NA
Total eroduction            66.5          90.2    103.1      104.2      91.1      105.1   106.5     108.1     110.1   I   107.4        6%
Source: Company reports and JPMorgan estimates.




                                                  Permian
                                                  Several investors have questioned SD' s decision to sell the Permian. On the one
                                                  hand, selling the Permian, because of its high-margin production, has an outsized
                                                  impact on EBITDA. On the other hand, it makes sense to sell oil assets when the
                                                  price of oil is relatively high, and SD needs some funds to cover the capex-minus-
                                                  operating cash flow deficit.

                                                  Investors also are questioning the quality of the Permian, given that SD will have
                                                  spent $500 MM of capex in 2012 and production from 4Ql 1 to 4Ql2 appears flat. It
                                                  is true the growth is not stellar, but one has to adjust 4Ql2 production for the June
                                                  2012 sale of 1,100 Boe/d (non-core West Texas tertiary assets). Thus, 4Ql 1 to 4Ql2
                                                  production really is around 3%, adjusted for the asset sale.

                                                  We analyzed whether or not SD's $500 MM investment in the Permian to grow 3%
                                                  appears reasonable. Our conclusion is that SD effectively is spending $59k/Boepd to
                                                  add the production it will have added between 4Ql 1 and 4Ql2 (assuming a 25% base
                                                  decline rate). The E&P group is trading at around $66k/Boepd and the oiliest
                                                  companies are trading over $120k/Boepd. On that measure, SD's Permian seems
                                                  fine.

                                                  At YEll , the PV-10 of SandRidge's Permian was $3.9 Bn (using $92.71 WTI oil
                                                  and $4.12 Henry Hub). The third-party interest in the Permian royalty trust had a

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                                                                                                                             PV-10 of $600 MM. Thus, the proved reserves for potential sale had a YE 11 PV-10
                                                                                                                             of around $3.3 Bn. 58% of SD's YEl 1 reserves were proved developed and 42%
                                                                                                                             PUDs.

                                                                                                                             Using NYMEX futures, we value the undrilled locations (PUDs and unbooked
                                                                                                                             locations) at $1 Bn. We value the proved developed reserves at approximate $2.6 Bn.
                                                                                                                             Backing out the value of the royalty trust assets of $436 MM (using NYMEX),
                                                                                                                             values the total package at $3.2 Bn ($1 Bn + $2.6 Bn - $0.4 Bn).

                                                                                                                             This $3 .2 Bn implies a flowing barrel value of around $125k/Boepd, just below the
                                                                                                                             level at which the oiliest E&Ps are trading. Our model assumes that the company
                                                                                                                             would receive $2.6 Bn, a 15-20% discount to where the oiliest companies are trading
                                                                                                                             on a flowing barrel basis. If SD were to sell to an MLP, it is possible that it could
                                                                                                                             receive above this $2.6 Bn value.


                                                                                                                              Investors Get Active
                                                                                                                             Two of SD's biggest holders are making demands of the company. The summary of
                                                                                                                             the recommendations are below. One of the complaints is SD's high G&A compared
                                                                                                                             to that of its peers. The company's FY12 G&A is $1.04/Mcfe versus its mid-cap
                                                                                                                             peers of $0.57/Mcfe and the group median of$0.66/Mcfe.

   Table 5: Summary of Demands by TPG-Axon and Mount Kellett
                        Fund                                                                                                             TPG-Axon                                                                                                 Mount Kellett
                  Shares/Ownership                      .......................·.·..-.·.·.·.·.·--·.·. .·.·.·.·.·.·-·°36":"s""MM. sh·a·res of common stock/6·:2%··········-                                                      2i:2·· Mrv1·· sh·a·rt;-s··ot··commo-n stOC0;r:·s0i~··· ·. -·· · ·····. . ·-
                                                                                                                                                                                     ,...............................................                                ··········-···-···--········-""'"'"·····
                     Letter date                                                                                                          111a12012                                                                                                  11/15/2012
                                                                 1·:· ·s·c;-arcr·reCCiri_                              fi.~j'U·raHon·:·Trid8'i)en·dfirifdfr8CtO·rs·replacing certain             1. Tom Ward-s·h·(:i"UfrffiS··repi'aC·e·cf as Chairman ar1Cft.E'cY·w·ffh a
                  Recommendations ...................... : ............... directors.and large.shareholders.should.be.invited.to join.-............• ...............................seasoned.executive .who_can .restore . credibility .. .. .................
                                                               2. Management reconfiguration: Bring in new management - Tom                                                                 2. Board should be strengthened by adding new, truly independent
                                                         1                                                              Ward's credibility is too damaged.                            1                                                                directors.
                                                         i 3. Hire an advisor to explore strategic alternatives: Consider sale ' 3. No hasty strategic actions, such as quick sale of Permian
-·. ······-········----·-··· ····-·· ···· · ···· ···· ··· ····· · · · · · · !. . . . ..................... . . . . .... . . . . . . . . . . . . . . .... . . . of.company.··-····-··············· .       ···············-········-··················                                                   assets.
                                                                                                                                                                                                                                                                4. Future direction of SD should be fully evaluated by a
                                                                                                                                                                                                                                                            reconstituted board and management team; including potential
                                                                                                                                                                                                                                                           sale of the entire company or a more limited divesture of ill-fitting
         .. . .·-·-····-·-··-·---·-·-· ·---···--··---·----- i.                                                                                                                                        ....................-·······-- ··········-····:··-            .................... assets, .such.as _Dynamic_Offshore .....
                         Value of SD                                          i                                                               $12-14/share                                                                                                                             >$20/share
   Source: Bloomberg, and J.P. Morgan estimates.


                                                                                                                              We would expect the company to take some actions in response to these shareholders'
                                                                                                                              demands.




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                                SD Liquidity and Balance Sheet
                                Our model does not include a sale of the Permian or other assets. We generally
                                model asset sales only after a company announces an agreement or completion of
                                such a sale.

                                Overall, from 4Ql2 to YEl 7, we estimate that SD has a $2.7 Bn funding gap. Ifwe
                                add the 3Ql2 ending cash balance of $674 MM, the net funding gap is $2.1 Bn.
                                Over this period, we model the company issuing a net $2 Bn of debt (combination of
                                senior notes and revolver draws) to fund the cash outspend. SD has other options,
                                including sales of non-core assets (including royalty trust units), sale of the Permian,
                                and potential N of the Kansas Miss Hz acreage, but we have modeled only debt
                                issuances at this time.

                                4Q 12. In our model, we assume that SD will be fully funded in 4Q 12 with nothing
                                drawn on its $775 MM revolver. SD uses cash on hand to fund its outspend.

                                2013. For 2013, we model SD using cash on hand and drawing $620 MM under its
                                $775 MM revolver to cover its $1 Bn funding gap. Net Debt/EBITDA stays the
                                same at 3.5x at YE13 as at YE12, still higher than the group median of l.8x.

                                2014. To cover the FY14 $677 MM funding gap, we model SD issuing $1 Bn of
                                senior notes. 2014 Net Debt/EBITDA decreases to 3.3x despite the senior notes
                                issuance, but it still is higher than the group median of l .3x.

                                2015. In FY15, SD has a funding gap of$522 MM and draws down $200 MM under
                                its revolver. We estimate SD exits YE15 with Net Debt/EBITDA of 3.3x versus the
                                group median of0.9x.

                                2016. In FY16, SD has a funding gap of $256 MM and draws down $250 MM under
                                its revolver. We estimate SD exits YE16 with Net Debt/EBITDA at 3.3x versus the
                                group median of 0.9x.

                                2017. In FYI 7, SD becomes cash flow (DCF-capex) positive in 2Ql2 and is able to
                                pay down debt starting in 3Ql 7. We estimate SD exits YEl 7 with Net
                                Debt/EBITDA of2.8x versus the group median of 0.9x.




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Table 6: SD Liquidity and Balance Sheet
($ MM) Assuming JPM price deck                       I      4Q2012                 2013                  2014                  2015                      2016                 2017


Discretionary Cash Flow                                       190                   735                   923                  1,078                     1,344                1,642

Total E&P Capex                                              (410)                (1 ,550)              (1,400)               (1,400)                   (1,400)              (1,400)
Oilfield Services                                              (7)                  (30)                  (30)                  (30)                      (30)                 (30)
Midstream and Other                                           (42)                 (170)                 (170)                 (170)                     (170)                (170)
Reserve/Acreage/Asset Acquisitions                              5                     0                     0                     0                         0                    0
Preferred Stock Dividends                                       0                     0                     0                     0                         0                    0
Common Stock Dividends                                          0                     0                    0                      0                         0                    0

Cash Outspend                                                (264)                (1,015)                (6n)                  (522)                     (256)                  42

Reserve/Acreage/Asset Divestitures                              0                    0                     0                     0                         0                    0
Debt Financing/Payment                                          0                  620 1                1,000 2                200 3                     250 4                (30) 5
Other Financing                                                 0                    0                     0                     0                         0                    0

Net Cash lnflow/(Outflow)                                    (264)                 (395)                  323                  (322)                      (6)                   12
 B~inning Cash                                                674                   410                    15                   338                       15                     9
Ending Cash                                                   410                    15                   338                    15                        9                    22

Outstanding on Revolver                                        0                    620                   620                      820                   1,070                1,040
Corporate Credit Facility                                     775                   775                   775                      775                    775                  775
Availability under Revolver                                   775                   155                   155                      (45)                  (295)                (265)

Net Debt/EBITDA                                               3.5x                  3.5x                  3.3x                 3.3x                      3.0x                  2.Sx
Groue Median Net Debt/EBITDA                                  2.3x                  1.Sx                  1.3x                 0.9x                      0.9x                  0.9x
Source: Company reports and JPMorgan estimates. Note: 1 Assume $620 MM drawn under the revolver. 2 Assume $1 Bn of senior notes.    3 Assume   $200 MM drawn under the revolver. 4 Assume
$250 MM drawn under the revolver. 5 Assume pay down of $30 MM under the revolver.


                                                         Assuming $2.6 Bn of Permian proceeds in 2Ql3 (if SD sells the Permian), we model
                                                         SD being cash flow positive by YEl 7, just two quarters earlier than SD would be
                                                         without the Permian sale. Although Net Debt/EBITDA would go down to 1.4x in
                                                         2Ql3 with the Permian proceeds, we model SD's leverage ratio going back up to
                                                         2.9x by YEl 7. Permian proceeds would help bridge the company's 4Q12 to YEl 7
                                                         total funding gap of $2.7 Bn. $2.6 Bn of Permian proceeds in combination with
                                                         $674 MM cash and $775 MM ofundrawn revolver ($4 Bn total) is more than enough
                                                         to cover SD's outspend until the company is cash flow positive in 2017. SD does not
                                                         have to sell the Permian, in our view. The company' s options include debt, another
                                                         Miss JV, and/or additional trust unit sales.




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                                Estimates
                                Table 7: Estimates
                                                                                                4Q12E                   FY12E                  FY13E
                                EPS ($/share)
                                JPM                                                             ($0.02)                  $0.14                 ($1.12)
                                Consensus Median                                                 $0.02                   $0.18                 ($1 .09)

                                CFPS ($/share)
                                JPM                                                                $0.32                 $1 .53                 $1 .26
                                Consensus Median                                                   $0.36                 $1.48                  $1 .62

                                Henry Hub ($/McD
                                JPM U.S. E&P                                                       $3.46                 $2.82                  $4.25
                                Consensus Median                                                   $3.10                 $2.71                  $3.66

                                WTI Oil ($/Bbl)
                                JPM U.S. E&P                                                    $90.00                  $94.63                $100.00
                                Consensus Median                                                $93.00                  $95.00                $100.00
                                Source: Bloomberg, J.P. Morgan estimates. Consensus data is as of November 16, 2012. JPM CFPS estimates might be lower than
                                consensus because we deduct capitalized interest and G&A to calculate discretionary cash flow.




                                Investment Thesis
                                Despite the hit to NAY, SD still appears to be one of the cheapest stocks in our
                                coverage group and one of the few trading around Proved Reserves NAY using
                                NYMEX prices. Overhanging the stock is the possibility of unsuccessful asset sales
                                and/or a liquidity pinch. SD has a ~$2.7 Bn 4Q12-2017 funding gap until it becomes
                                cash flow positive in 2Ql 7. The company seems to be selling the Permian as a way
                                to fund its Miss Hz growth. SD can sell the Permian, N its Miss Hz Kansas acreage,
                                issue debt and/or sell its royalty trust units to bridge its funding gap.

                                As investors feel more comfortable about SD's ability to cover its funding gap, spend
                                within or close to its guidance, hit its production targets, have positive well results in
                                the Kansas Miss, and re-confirm the economic viability of the whole Miss play, the
                                stock likely will move closer to NAY. Positive actions in response to shareholder
                                demands also likely will help the stock outperform. We rate the stock Overweight.


                                Valuation
                                Table 8: Price Targets
                                $/share
                                          JPM                                                          Consensus
                                                                         Median                            Low                              High
                                          $9.50                           $8.25                           $4.00                            $13.00
                                Source: J.P. Morgan estimates. Consensus from November 16, 2012.




                                                                                                                                                              9
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                                   Table 9: Comps
                                   $/share
                                               Valuation                        SD               E&P Group              Mid Caps               Comps

                                            P/NYMEX NAV                         63%                  100%                  91%                  101%
                                             P/JPM NAV                         35%                   56%                   53%                  63%
                                           EV/FY13 EBITDA                       4.8x                  4.8x                 5.3x                  4.4x
                                    Implied YE13 EV/FY14 EBITDA                6.4x 1                 4.?x                 5.8x                  4.6x

                                   Source: J.P. Morgan estimates. Note: Comps include XEC, CXO, CLR, PXD, SM, and WLL. 1 Assume $9.50/share YE13 PT.


                                   We base our $9.50/share Dec-13 price target on 95-100% ofYE13 NYMEX NAV,
                                   which is trading at a slight discount with where the group is trading relative to
                                   current NYMEX NAV. The E&P stocks are trading at 100-105% of NYMEX
                                   NAV and, since SD has liquidity risk, we think the company will trade at a
                                   discount to the group median.

                                   We take our current NYMEX NAV and roll it forward to YE13 using our estimate of
                                   the company's WACC. We calculate current NAV using a discounted cash flow
                                   (DCF) model.

                                   Our NA V model starts with an estimate of the company's proved reserves and then
                                   estimates the value of unbooked reserves (probable, possible and other potential).
                                   Therefore, our NA V model includes credit for 3P+ (3P- proved, probable, and
                                   possible-plus other potential that is not in the 3P categories). It also adjusts for
                                   hedges, other assets, and other balance sheet items.

                                   • WACC:                               10.5%

                                   Table 10: JPM and NYMEX Price Decks
                                                                                        2011            2012e              2013e               Beyond
                                   JPM WTI Oil ($/bbl)                               $95.05             $94.63             $100.0              $100.00
                                   JPM Henry Hub Gas($/Mcf)                             $4.06            $2.82              $4.25               $5.50


                                   NYMEX WTI Oil ($/bbl)                             $94.06             $94.79             $88.17              $87.12
                                   NYMEX Henry Hub Gas($/Mcf)                           $4.04            $2.79              $3.90               $4.50
                                   Source: J.P. Morgan.


                                   We base our price target on NYMEX NAV, and that appears to be what the market is
                                   using to value the E&Ps. However, we think that, over time, the market will reflect
                                   higher commodity prices in the stocks, so we detail the NA V below using our price
                                   deck. Please see the NA V model for the JPM and NYMEX NA V details.

                                   JPM Net Asset Value. Based on the JPM price deck in Table 10, we calculate an
                                   NAV of $15.08/share. In our analysis, we value the proved reserves alone (minus
                                   balance sheet, cash taxes and G&A) at $7.33/share. Some of the value of the stock is
                                   the significant potential that is unbooked. We risk that potential and value it at
                                   $7.75/share after deducting corporate cash charges associated with that production,
                                   including cash income taxes and G&A. The main components of SD's (unbooked)
                                   potential include:




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                                 •   Mississippian Horizontal (including Extension Mississippian play). 80%, or
                                     $15.07/share, of the $18.73/share gross potential (before deducting cash taxes and
                                     G&A) is for the unbooked potential in this area.
                                 •   Permian. 16%, or $3.03/share, of the $18.73/share gross potential (before
                                     deducting cash taxes and G&A) is for the unbooked potential in this area.
                                 •   Pinon Field. 1%, or $0.20/share, of the $18. 73/share gross potential (before
                                     deducting cash taxes and G&A) is associated with the high CO2 wells in the
                                     Warwick and Tesnus thrusts of the Pifion Field. SandRidge holds a large acreage
                                     position in the West Texas Overthrust, and the Pifion field is the most established
                                     field in the area. However, SD currently is drilling no wells in the Pifion field.


                                 Risks to Rating and Price Target
                                 Funding gap. If SD increases spending more than we have modeled and is not able
                                 to successfully complete potential monetizations, the stock could underperform.

                                 Miss well results. If well results are, on average, below the company's estimates,
                                 the stock likely will underperform. The company is assuming a b factor of 1.8 for its
                                 oil production and 3 for gas. If these b factors prove to be too high and the average
                                 EUR consequently appears too high, the stock could underperform.

                                 Stock market and the economy. E&Ps appear to have a strong correlation to the
                                 overall stock market and the economy. If the market and the economy perform
                                 worse than we expect, the stock could underperform our expectations.




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                                                                                   SD NAV
           Assumptions
                                                                                                                                     - Comrodity Price
             Commodity Price              J.P. Morgan               NYMEX Futures               Cu stom Deck
             Options:                   Gas       ____Q!!...._     Gas              Oil          s            Oil                        ~ J.P. t>'organ Price Deck
                                         $6.86        $72.30
                                                                 - -as-of         ---
                                                                               11/15/2012
                                                                                                                                         --
                            2007-A                                                                                                       u NYMEX Futures
                            2008-A
                            2009-A
                                         $9.05
                                         $3.99
                                                      $99.68
                                                      $62.22
                                                                                                                                         v    Other Price Deck
                                                                                                                                     - Discounting
                            2010-A       $4.39        $79.50         $4.39         $77.33       $4.39         $79.50
                            2011-A
                            2012-E
                                         $4.06
                                         $2 .82
                                                      $95.05
                                                      $94.63
                                                                     $4.04
                                                                     $2.79
                                                                                   $94.06
                                                                                   $94.79
                                                                                                $3.50
                                                                                                $3.50
                                                                                                              $80.00
                                                                                                              $80.00
                                                                                                                                         A:lriod Ending        I 3Q12     [•]
                            2013-E
                           Beyond
                                         $4.25
                                         $5.50
                                                    $100.00
                                                    $100.00
                                                                     $3.90
                                                                     $4.50
                                                                                   $88.17
                                                                                   $87.12
                                                                                                $3.50
                                                                                                $3.50
                                                                                                              $80.00
                                                                                                              $80.00
                                                                                                                                         Dsc. Rate' 1
                                                                                                                                                               110.5%     G
                                                                                                                                         Dsc. Rate' 2
                                                                                                                                                               110.5%     [... ]
             Shares Outstanding:
                                                                           .                         - Escalation Assumptions

             Common Shares Outstanding
                                                                           .
                                                                    490.8 as of3Q12                       Conrnodity Price                             0.0%        •
                                                                      90.5
             Potential Dilution incl. Merger                                                              G&A Costs                                    0.0%        •
               Total Potential Shares                               581.3                                 LOE Costs
                                                                                                                                                       0.0%        •
                                                                                                          Service & D'illinn Costs
                                                                                                                                                       0.0%        •
           Valuation Breakdown
                                                                                                                     .. Morgan Prices
                                                                                                                    JP                                      NYMEX Strip Prices
                                                                 lk!Rsk Rsrv Reserves        Rsk Rsrv     Discounted         Value        Pre-Tax         Discounted      Value
           PROVED RESERVES (at YE11)                             (Bcfe)           Risking      (Bcfe)       Net CF       Per Share            PV-10       Net CF        Per Share
           U.S. Ffoved Developed Reserves                         1,385               0.0%      1,385        $4,023           $6.92            $2.90        $3,402           $5.85
           U.S. Ffoved Undeveloped Reserves                       1,439               0.0%      1,439        $3,381           $5.82            $2.35        $2,441           $4.20
           SOT, PER Proved Reserves (3rd Party ON nership)         (160)              0.0%       (147)        ($906)         ($1.56)           $6.17          ($805)        ($1 .38)
           Dynamic CTfshore Resources Ffoved Reserves               375               0.0%        375        $2,106           $3.62            $5.62        $1,751           $3.01
           VVest Texas Ffoved Reserves                             (144)              0.0%       (144)        ($110)         ($0.19)           $0.77           ($21)        ($0.04)
           SOR Ffoved Reserves (3rd Party ON nership)                (94)             0.0%        (85r        ($4o6r         ($0.70)                          ($357)        ($0.61)
           ytm adjustment (add A.JD capex, subtract proved cash flow)                                           859           $1.48                            $859          $1.48
             Total Value Of Proved Reserves                       2,801                         2,823         $8,946        $15.39            $3.17           $7,271        $12.51

           BALANCE SHEET (Asof 3Q12):                                                                       Value        Per Share                          Value       Per Share
           Long-Term Debt                                                                                   ($4,300)         ($740)                         ($4,300)        ($7.40)
           Other Liabilities (ex cludes taxes, A RO, & derivative liabilities)                                 ($70)          (0.12)                           ($70)         (0.12)
           Net Working Capital (exdudes taxes, ARO, and derivative liabilities)                                $314            0.54                            $314           0.54
           Investments & Other Assets (excludes goodwill)                                                      $824            1.42                            $824           1.42
             Net Balance Sheet                                                                               ($3,232)        ($5.56)                        ($3,232)        ($5.56)

                                                                                                            Value        Per Share                          Value       Per Share
           Dscounted Future Cash G&A (Ffoved Reserves)                                                        ($986r          (1 .70)                         ($986)         (1 .70)
           Dscounted Cash Taxes (Ffoved Reserves)                      90%     Assumed Tax Shield             ($400)          (0.69)                          ($390)         (0.67)
           Ffesent Value Of Hedges                                                                             ($69r          (0.12)                           $283           0.49
             Other Costs / Revenue                                                                          ($1,456)         ($2.50)                        ($1,093)        ($1.88)

           IValue Of Proved Reserves (After Taxes, Balance Sheet, & Hedges)                                   $4,259           $7.33                          $2,946         $5.07     I
           RISKED POTENTIAL                                                                  Rsk Rsrv     Disc Future        Value        Pre-Tax       Disc Future       Value
           (Everything Unbooked at YE11)                                                       (Bcfe)         Net CF     Per Share            PV-10           Net CF    Per Share
           warw ick - Riion Field                                                               3,290              0           0.00            0.00                0          0.00
           Tesnus - Riion Field                                                                    476             0           0.00            0.00                0          0.00
           A:lrnian                                                                             1,362          1,761           3.03            1.29            1,085          1.87
           CO2 Credits                                                                             338           119           0.20            0.35              119          0.20
           Adding back AJ Tails                                                                    130           118           0.20            0.91               87          0.15
           GOM                                                                                      99            67           0.12            0.68                0          0.00
           Mississippian - Horizontal - Core                                                    6,376          7,638          13.14            1.20            5,170          8.89
           Mississippian - Horizontal - Extension (Kansas)                                      1,715          1,123           1.93            0.65              594          1.02
           Gulf Coast                                                                               17            61           0.11            3.71               45          0.08
           Other Capex and Subtracting FIJDs already induded                                   (1 ,295)       (4,626r         (7.96)           3.57           (3,686)        (6.34)
             Gross Potential NAV                                                               12,507         $6,262         $10.77            0.50           $3,413         $5.87
           ffi adjustment (add exploration capex,subtract cash flow from potential reserves)                        73           0.13                             73           0.13
           Dscounted Future Cash G&A (Fbtential Reserves)                                                     (1 .614r          (2.78)           ~           (1 ,614)         (2.78)
           Dscounted Cash Taxes (Fbtential Reserves)                                                             (215r          (0.37)           NA.              64           0.11
             Other Costs                                                                                     ($1,757)          ($3.02)                      ($1,478)         ($2.54)

             Total Potential NAV                                                                              $4,505           $7.75                          $1,935         $3.33


           Total Current NAV / Share                                                          15,329         $8,764          $15.08                         $4,881          $8.40
                                                                                                                                         Source: J.P. Morgan , Company Reports



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                                                                                SD Model
    JPM U.S. E&P                                       2011 Quarterly Estimates                                     2012 Quarterly Estimates                       Full Year Results/Estimates
COMMODITY PRICE DECK:                           Q1-A           Q2-A            Q3-A          Q4-A            Q1-A            Q2-A       Q3-A          Q4-E             2011-A          2012-E          2013-E
    Natural Gas (Henry 1-Ub Bid Week)            $4.12           $4.35          $4.22          $3.54           $2.73          $2.20      $2.88         $3.46             $4.06           $2.82           $4.25
    Crude Oil (WTI Cushng Spot)                 $94.46         $102.28         $89.51         $94.03         $102.99         $93.45     $92.14        $90.00            $95.05          $94.63         $100.00

Price Realizations (after hedging)
     Natural Gas ($/~f)                          $3.44           $3.31          $3.08          $3.11           $2.35          $2 .39     $2.23         $2.96             $3.23           $2.51              $3.89
    Crude Oil ($/bbl)                           $72.26          $76.26         $76.94         $79.28          $86.27         $89.76     $91 .84       $92.16            $76.41          $90.32          $88.96
    NGLs ($/bbl)                                 $0.00           $0.00          $0.00          $0.00           $0.00          $0.00      $0.00         $0.00             $0.00           $0.00           $0.00



PRODUCTION VOLUMES:
    Natural Gas (Bcf)                             17.3            17.2           17.9           16.9            15.7           21 .9      27.2          28.2              69.3            93.0              118.2
    Crude Oil (WMbbl)                              2 .6            2 .8           3.2            3 .3            3.4            4 .6       4 .9          4 .9             11 .8           17.8               19.5
    NGLs (WMbbl)                                   0.0             0.0            0.0            0 .0            0 .0            0.0       0.0           0.0               0.0             0.0                0.0
Total Production (Bcfe)                           32.8            33.8           37.1           36.6            36.3           49.2       56.8          57.6             140.3           199.9              235.4
    % Natural Gas                                 53%              51%            48%           46%              43%           44%         48%          49%               49%             47%                 50%




INCOME STATEMENT: (iMM}
    E&PRevenue                                   $257            $294           $309           $310            $215            $644       $387          $534       $     1,170     $     1,781     $     2 ,198
    Operating Costs                               (193)           (208)          (220)          (223)           (236)          (342)      (372)         (386)             (844)         (1 ,336)        (1 ,587)
Operating Income (EBIT)                             64              86             89             87             (21)           302         15          148                326             445               611
    Net hterest Expense                           ($59)           ($62)          ($59)          ($57)           ($67)          ($69)      ($82)         ($93)      $      (238)    $      (310)    $        (378)
     Other                                        (307)           192            607           (424)           (128)            585        (93)           4                 69             367               (20)
Pre tax lncom e                                  ($302)          $216           $637          ($394)          ($216)           $818      ($160)         $59               $157           $502               $213
     Effective Tax Rate                             0%             0%              0%            0%              0%            -13%         0%           0%                -4%           -21%                 0%
     Ffeferred Dividends/ Mnority hterest          (14)           (27)            (75)            6             (16)           (113)       (25)         (69)              (110)           (222)             (283)
Reported Net Income                              ($316)          $196           $561          ($389)          ($232)           $809      ($184)          ($9)               52             383               (70)
   Non-Recurring terrs (After tax )                292           (212)          (558)           398             253            (772)       214             0               (80)           (305)                0
Recurring Earnings                          $      (24) $         (16) $            3 $           9      $       21 $            37 $       30 $          (9)      $       (28) $           78     $         (70)
Recurring e:>S (DIiuted)                        ($0.02)         ($0.00)         $0.03          $0.02           $0.04          $0.07      $0.05        ($0.02)           ($0.06)          $0.14          ($0.12)
Basic Shares Outstanding                           398            398            399             399             401            461        476          493                399             458               493
Diluted Shares Outstanding                         496            496            498             498             500            561        567          583                497             553               583



DISCRETIONARY CASH FLOW: (iMM}
Recurring Net Income                              ($24)           ($16)           $3              $9             $21            $37        $30           ($9)             ($28)            $78              ($70)
DD&A (E&P and Non E&~                               87              89            100            104             104            163        192           196               380             655               804
Exploration Expense                                  0               0              0              0               0              0          0             0                 0               0                 0
Deferred Taxes                                       0               0              0              0               0           (103)         0               (0)             0            (103)                (0)
Other                                               23              33            (34)            51              28            126         60                0             73             213                  0
Discretionary Cash Flow                     $      100     $       134     $     144     $       158     $       153     $      222 $      281    $      187       $       535     $       843     $         735
DCF/Share                                        $0.20           $0.27          $0.29          $0.32           $0.31          $0.40      $0.50         $0.32             $1.08           $1.53              $1.26


Adjusted E&P EBITDAX *                           $138            $162           $175           $177              $69           $449       $191          $326              $652          $1 ,035         $1 ,341




UNIT COSTS ($/MCFE)·
Revenue                                          $7.83           $8.69          $8.32          $8.48           $5.91         $13.09      $6.81         $9.29             $8.34           $8.91           $9.34
Lease Operating Expense                         ($2.26)         ($2.42)        ($2.33)        ($2.20)         ($2.29)        ($2.49)    ($2.41)       ($2.46)           ($2.30)         ($2.42)         ($2.42)
Severance and Other Taxes                       ($0.32)         ($0.37)        ($0.28)        ($0.34)         ($0.34)        ($0.22)    ($0.23)       ($0.28)           ($0.33)         ($0.26)         ($0.32)
OO&A                                            ($2.26)         ($2.25)        ($2.34)        ($2.45)         ($2.47)        ($2.99)    ($3.08)       ($3.10)           ($2.33)         ($2.95)         ($3.10)
G&A                                             ($1 .05)        ($1 .11)       ($0.98)        ($1 .10)        ($1 .39)       ($1 .25)   ($0.82)       ($0.87)           ($1 .06)        ($1.04)         ($0.90)
Operating Margin                                 $1 .95          $2.54          $2.39          $2.39          ($0.58)         $6.13      $0.27         $2.57             $2.32           $2.22           $2.60
Cash Margins                                     $4.20           $4.79          $4.73          $4.84           $1 .89         $9.12      $3.35         $5.67             $4.65           $5.18           $5.70




                                            ASSET INTENSITY:                                                             F&D:
                                            2011 DCF                       $     535     WM                              CAPEX                                          $1,744          $1 ,998         $1 ,550
                                            2011 Prod                             140 Bcfe                               RESERVES @YE (Bcfe)                             2 ,824          3,782           4,574
                                            2011 PD F&D***                       3.42 /~fe                               RESERVE REPLACev, e-lT                         302.9%          579.0%          436.7%
                                         Asset Intensity           90%                                                   All-in PD F&D ($/Mcfe)                          $3.42           $3.10              $2.64
*EBITDA.X adds back exploration expense                                                                                  Free Cash Row ($MM)**                             $55            $222              $114
**Free Cash Row is defined as Discretionary Cash Row - Reserve Maintenance CAPEX                                         Ex-Leasehold PD F&D ($/Mcfe)                    $3.09           $2.85              $2.33
***Includes estimated capital spent on leasehold/acreage. E&D only PD F&D for 2011 is $3.09/Mcfe.
****Includes estimated capital spent on leasehold/acreage. E&D only RAC for 2011 is $4.21/Mcfe.
Source: J.P. Morgan estimates, company reports


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SandRidge Energ~ Inc.: Summary of Financials
Income Statement · Annual                                         FY11A FY12E          FY13E FY14E                                                       1Q12A      2Q12A 3Q12A 4Q12E
Natural Gas Price (Henry Hub Bid Week) • $/MMBtu                     4.06    2.82          4.25     Natural Gas Price (Henry Hub Bid Week) • $/MMBtu      2.73A      2.20A    2.88A    3.46
Crude Oil (WTI Cushing Spot) -$/Bbl                                95.05    94.63      100.00       Crude Oil (WTI Cushing Spot) -$/Bbl                102.99A      93.45A 92.14A 90.00
Average Realized Price ($/Mcfe)-after hedging                          8.0     9.2           9.3    Average Realized Price ($/Mcfe)-after hedging           9.2A       9.4A     9.1A     9.3
Total Production(Bcfe)                                                 140    200           235     Total Production(Bcfe)                                   36A        49A      57A      58
%Natural Gas                                                      49.4% 46.5%           50.2%       o/J-.Jatural Gas                                    43.4%A,    44.5o/cA 47.8°/cA 49.0%
E&P Revenues (USO MM)                                              1,170    1,781        2,198      E&P Revenues (USO MM)                                  215A       644A     387A     534
Operating expenses                                                    844   1,336        1,587      Operating expenses                                     236A       342A     372A     386
EBIT                                                                  326     445           611     EBIT                                                  (21)A       302A      15A     148
E&PEBITDAX                                                         652.2 1035.0        1340.9       E&P EBITDAX                                           68.7A    449.3A 190.6A 326.5
Interest Expense                                                    (238)   (310)         (378)     Interest Expense                                       (67)A      (69)A   (82)A    (93)
Other Expenses                                                         122    432             55    Other Expenses                                       (114)A       600A    (77)A       22
Pretax income                                                         157     502           213     Pretax income                                        (216)A       818A (160)A         59
Tax rate(%)                                                       (3.7%) (20.6%)        (0.1%)      Tax rate(%)                                        (O.Oo/o)A (12.7%)A (0.1%)A (0.1%)
Preferred Dividends/Minority Interest                               (110)   (222)         (283)     Preferred Dividends/Minority Interest                  (16)A    (113)A    (25)A    (69)
Reported net income                                                     52    383           (70)    Reported net income                                  (232)A       809A (184)A        (9)
Non-recurring items, discont. ops                                     (80)  (305)             (0)   Non-recurring items, discont. ops                      253A     (772)A     214A        0
Adjusted net income                                                   (28)      78          (70)    Adjusted net income                                      21A        37A     30A      (9)
Recurring EPS (Diluted)                                            (0.06)    0.14        (0.12)     Recurring EPS (Diluted)                               0.04A      0.07A    0.05A (0.02)
Average diluted shares outstanding                                    497     553           583     Average diluted shares outstanding                     500A       561A     567A     583
Discretionary Cash Flow                                               535     843           735     Discretionary Cash Flow                                153A       222A     281A     187
DCF/share                                                               1.1    1.5           1.3    DCF/share                                               0.3A       0.4A     0.5A     0.3
Unit Costs /USD Mcfel                                                                               Unit Costs (USD Mcfel
Lease Operating Expense                                                 2         2             2   Lease Operating Expense                                 2A         2A        2A     2
Severance and Other Taxes                                             0.3       0.3          0.3    Severance and Other Taxes                             0.3A       0.2A      0.2A   0.3
DD&A                                                                    2         3             3   DD&A                                                    2A         3A        3A     3
G&A                                                                     1         1             1   G&A                                                     1A         1A        1A     1
Operating Margin                                                    2.02      2.53         2.60     Operating Margin                                     2.67A      2.41A     2.51A  2.57
Cash Margin                                                         4.35      5.49         5.70     Cash Ma~in                                           5.14A      5.40A     5.59A  5.67
Balance Sheet and Cash Flow Data                                  FY11A     FY12E      FY13E FY14E Ratio Anallsis                                       FY11A      FY12E     FY13E FY14E
Cash and cash equivalents                                            208       418             23   Valuation
Other current assets                                                 234       556          556     P/E (adjusted)                                       (95.0)      37.6     (44.6)
Total current assets                                                 442       974          578     P/DCF
NetPP&E                                                            4,867     7,787       8,608      Enterprise value/EBITDAX                               9.5        6.9        6.1
Other assets                                                         911     1,074        1,199     EV/Mcfe                                               2.20       1.88       1.80
Total assets                                                       6,220     9,835     10,385       RLI (Years)                                             20         19         19
Total debt                                                         2,814     4,300       4,920      Ratios
Total liabilities                                                  3,671     5,639       6,259      Net debt/equity                                    102.6%       92.5%    118.7%
Minority interests/Preferred stock                                                                  Net debt/book capital                               50.6%       48.1%     54.3%
Shareholders' equity                                               2,541     4,196       4,126      Net coverage ratio                                       3.0       3.6        3.7
                                                                                                    ROE                                                 (1 .3%)      2.1%     (1.7%)
Discretionary Cash Flow                                              535       843           735    ROCE                                                  4.4%       6.5%       3.5%
Change in working capital                                            (60)      (72)             0
Cash flow from operations                                             475      771           735    Yield and cash returns
Capex                                                             (1,744)   {1 ,998)   (1 ,550)     CFPS                                                  1.08        1.53      1.26
Dividends                                                               0          0            0   DCFyield                                           14.87%      26.03%    22.16%
Share buybacks (net)                                                   14         13            0 - Total cash returns(%)
Change in debt                                                         97   (1 ,484)      (620)
Other uses of cash                                                  1,581       (34)      (200)     PD Asset Intensity
Change in cash                                                        202        210      (395)     Production                                             140        200       235
                                                                                                    PD F&D                                             342.4%      310.5%    263.5%
Reserves@ YE (Bcfe)                                               2,824.0 3,781 .7     4,574.4    - Asset Intensity                                        0.9         0.7       0.8
Reserve Replacement                                                   413   1,158         1,028     RODD
RAC (exc.Revisions)($/Mcfe)                                            4.2     2.5            1.6
Free cash flow (USDMM)**
Drilling Traditional F&D (USO Mcfe)

Source: Company reports and J.P. Morgan estimates.
Note:$ in millions (except per-share data).Fiscal year ends Dec




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                                                                                                                                                            Date         Rating   Share Price   Price Target
                                                                                                                                                                                  ($)           ($)
                                                                                                                                                            17-Dec-07    N        35.01
                                                                                                                                                            07-Jan-09    N        8.44          21 .00
    SandRidge Energy Inc. (SD, SD US) Price Chart
                                                                                                                                                            05-Mar-09    N        6.18          18.50
                                                                                                                                                            07-May-09    N        9.66          15.50
               115 -+-- - - - - --1
                                                                                                                                                            08-May-09    N        11 .11        15.00
                                                                                                                                                            12-Jun-09    N        11 .01        12.50
               92 -+-- - - - --1                                                                                                                            07-Aug-09    N        10.87         14.50
                                             '--...-~~....
                                                                                                                                                            15-0ct-09    N        13.75         16.50
                                                                                                                                               ow $1        05-Jan-10    N        10.42         14.00
               69 -1L-r-l· - -....--      -L--.-1,--"T""T..1..r.........-,J-L_,....,--,..11.....-1,,_.,.,,.,.........--.,__~L..,.....,~---....1...---..-1   09-Apr-1 O   N
    Price($)                                                                                                                                                                      7.64          9.00
                                                                                                                                                            07-May-10    N        6.78          10.00
                                                                                                                                                            12-Jul-10    N        6.20          8.50
                                                                                                                                                            17-Sep-10    N        4.92          5.00
                                                                                                                                                            25-0ct-10    N        5.77          5.50
                                                                                                                                                            05-Nov-10    N        5.86          5.00
                                                                                                                                                            23-Dec-10    N        7.28          6.00
                                                                                                                                                            12-Jan-11    N        7.83          6.50
                  Nov              Aug                May                 Feb                 Nov                Aug                  May                   03-Feb-11    N        7.62          8.00
                  07                08                 09                  10                  10                  11                  12
                                                                                                                                                            25-Feb-11    N        10.53         9.00
    Source: Bloomberg and J.P. Morgan; price data adjusted for stock splits and dividends.                                                                  25-Mar-11    N        12.13         9.50
    Initiated coverage Dec 17, 2007.
                                                                                                                                                            18-Aug-11    N        6.72          14.00
                                                                                                                                                            13-0ct-11    N        6.54          15.00
                                                                                                                                                            29-Nov-11    N        6.91          17.00
                                                                                                                                                            19-Dec-11    N        6.30          9.50


                                                                                                                                                                                                          15
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                                                                                                            30-Apr-12    OW       7.54          13.00
                                                                                                            09-Nov-12    OW       5.51          12.00


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        1B clients*                                        69%           61%            53%

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SD- Results Appear Slightly Positive Provided Certain Steps                                          November 8, 2012

Taken
                                                                                  Energy - Exploration   & Production

                                                                                  Sector Rating:         Market Weight
SandRidge Energy (SD,$6.10,Buy) reported a bit of a mixed quarter and
outlook. However, it appears that if a disciplined capital allocation policy is
followed with SD primarily paying down debt (along with some new Horizontal                              Neal Dingmann
                                                                                                           713-247-9000
Mississippi growth) with the proceeds of a Permian sale, the ultimate result                neal.dingmann@suntrust.com
should be positive.
                                                                                                      Ryan Oatman, CFA
Positive items reported:                                                                                   713-247-9001
                                                                                              rya n.oatma n@suntrust.com

    •   3Q $0.05 versus STRH's $0.04 estimate and the Street's $0.00                                      Mario Cordova
    •   Many 3Q expenses such as LOE and G&A 10%+ lower than expected                                      713-236-4205
    •   2012 production guidance increased 1% versus prior guidance                         mario.cordova@suntrust.com

    •   2013 production guidance up 18%
    •   2013 CAPEX 19% sequentially lower to $1.75B versus the expected 6%
        lower to $2.0B
    •   Announced it could sell all Permian not associated with royalty
        trusts=24,500 Boe/d production. (Assuming $90,000/flowing bbl
        proceeds would be $2.2B.)



Negative items reported:

    •   3Q liquids volumes 6% less than expected
    •   2012 CAPEX increased 2.4% versus prior guidance
    •   2012 oil production guidance reduced 2%
    •   2013 oil production guidance of +9.6% versus 20%+ expected
    •   Proforma commodity makeup after Permian sale less oily given Permian ""65% pure oil versus Horizontal
        Mississippian ""35% pure oil




                            PLEASE SEE IMPORTANT DISCLOSURES STARTING ON PAGE 2
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                                                                                                                       Rating And Price Target History (SD)
                        SandRidge Energy, Inc.
                                                                                        03/06/12              Date            Rating            Target        Closing
                                                                                                              01/04/2011       Buy              $11.00         $7.35
                                                                                                              02/17/2011                        $13.00         $9.28
               10                                                                                             04/01/2011                        $18.00        $12.96
                    I                                                                                         08/05/2011                        $16.50         $7.79
         ~      8   j
        ~           I                                                                                         10/06/2011                        $12 .50        $6.14
        8           l
        0
        :::,
                  I
                6 1                                                                                           11/04/2011                        $11.50         $7.86
                                                                                                              03/06/2012                        $12.00         $7.67
                4 ~
                    I                                UZ/17/11                                                 07/09/2012                        $11.50         $6.41
                                                                     08/05/11
                    I                                                        11/04/11
                21
                                                                                                   07/09/12
                    I
                        20 10                       2011                           2012
        Price data               Thomso n Reuters   Nov 09, 2009 - Nov 07, 2012




    Definition of Ratings
    SunTrust Robinson Humphrey assigns one of three ratings to stocks covered by our Research Department: Buy, Neutral, or
    Reduce.

    In addition, we assign a risk rank to each stock based on a combination of fundamental and stock volatility factors:
    Low= Low stock price volatility reflected by high predictability of financial results.
    Moderate= Moderate stock price volatility reflected by medium predictability of financial results.
    High= High stock price volatility reflected by inconsistent predictability of financial results.


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Speculative= Greatest stock price volatility reflected by low predictability of financial results.
Venture= Recommended only for maximum risk oriented and well-diversified portfolios.

Our ratings are a function of the risk ranking (higher return expectations for higher risk) and the absolute expected total return
(price appreciation plus dividends) that result in our estimated 12-month price target. Please refer to the grid below for
additional detail.

                                Performance Definition Scale
                                      Total return (capital gain/loss+ dividends) expected over the next 12 months
                                                                       Moderate
                                Rating              Low Risk                            High Risk        Speculative
                                                                       Risk
                                Buy                 Over 10%           Over 15%         Over20%          Over25%
                                Neutral             -5% to 10%         -5% to 15%       -10% to 20%      -10% to 25%
                                Reduce              -5% or Worse       -5% or Worse     -10% or Worse    -10% or Worse


SunTrust Robinson Humphrey assigns one of three ratings to industries/sectors covered by our Research Department:
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personal investment objectives and risk tolerance compared to a stock's expected performance and risk ranking.



SunTrust Robinson Humphrey ratings distribution as of 11/08/2012:



                                Covera e Universe                                     Investment Banking Clients Past 12 months
                                Rating                      Count          Percent    Rating                      Count   Percent*
                                Buy                           153              44     Buy                             36        10
                                Neutral                       191              56     Neutral                         25         7
                                Sell/Reduce                     0               0     Sell/Reduce                      O         0



*Percentage of Investment Banking clients in Coverage Universe by rating




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